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            EXHIBIT A
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    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK


    MARTIN JONATHAN BATALLA VIDAL, et
    al.,

                  Plaintiffs,
                                                     No. 16-cv-4756 (NGG) (JO)
           v.

    ELAINE C. DUKE, in her official capacity as
    Acting Secretary of Homeland Security, et al.,

                  Defendants.


    STATE OF NEW YORK, et al.,

                  Plaintiffs,

           v.
                                                     No. 17-cv-5228 (NGG) (JO)
    DONALD TRUMP, in his official capacity as
    President of the United States, et al.,

                  Defendants.



          MEMORANDUM OF LAW FILED ON BEHALF OF 87 RELIGIOUS
      ORGANIZATIONS AS AMICI CURIAE IN SUPPORT OF PLAINTIFFS’ MOTIONS
                      FOR PRELIMINARY INJUNCTIONS
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                                       INTERESTS OF AMICI

           Led by the Muslim Bar Association of New York, amici are American religious or

    religiously-affiliated organizations who represent a wide array of faiths and denominations.

    Amici include congregations and houses of worship as well as professional, civil liberties, and

    immigrant rights groups who work with or represent faith communities (“Religious

    Organizations”). Amici have long supported Deferred Action for Childhood Arrivals (“DACA”)

    as a compassionate and appropriate response to the humanitarian crisis posed by the hundreds of

    thousands of undocumented people brought to this country as children, before they could make

    choices of their own. Amici believe that the arbitrary rescission of DACA will indelibly harm

    the vitality of their spiritual communities by forcing committed members of their congregations

    and organizations to leave the country or return to the shadows. Indeed, certain amici have

    committed to providing sanctuary to those targeted for deportation. Amici are identified here by

    name, with a fuller description of their identities and interests attached to this memorandum at

    Appendix A.

           Amici are: Albuquerque Insight Meditation Center; Albuquerque Monthly Meeting of the

    Religious Society of Friends (Quakers); The American Association of Jewish Lawyers and

    Jurists; American Friends Service Committee; Ansche Chesed, New York City; Arch Street

    United Methodist Church; Capital Area Muslim Bar Association; Catholic Charities Community

    Services of the Archdiocese of New York; Central Conference of American Rabbis; Central

    Pacific Conference of the United Church of Christ; Church Council of Greater Seattle; Church of

    Our Redeemer in Lexington, Massachusetts; Congregation B’nai Jeshurun (New York City);

    Congregation Beit Simchat Torah; Council of Churches of the City of New York; Council on

    American-Islamic Relations – Michigan Chapter; Council of American-Islamic Relations – New

    Jersey Chapter; Council of American-Islamic Relations – New York Chapter; Cuba Presbyterian


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    Church (Presbyterian Church, USA), Cuba, New Mexico; Degrees of Change; DMV Sanctuary

    Congregation Network; Dominican Development Center; East End Temple (New York City);

    Emgage Foundation; Episcopal City Mission; Episcopal Dioceses of Massachusetts; Episcopal

    Diocese of New York; Episcopal Dioceses of Western Massachusetts; Episcopal Society of

    Christ Church/The Christ Church Cathedral, Cincinnati, Ohio; Faith Action Network; First

    Christian Church (Disciples of Christ), Santa Fe, New Mexico; First Congregational United

    Church of Christ (Albuquerque, New Mexico); First Presbyterian Church of Santa Fe, New

    Mexico; First Presbyterian Church of Taos, New Mexico; First Unitarian Congregational Society

    in Brooklyn; First United Presbyterian Church of Las Vegas, New Mexico; Global Justice

    Institute; Immanuel Presbyterian Church (Albuquerque, New Mexico); Interfaith Alliance of

    Iowa; Iowa Conference of the United Church of Christ; Islamic Society of Basking Ridge;

    Islamic Society of Central Jersey; Lab/Shul; Legal Advocacy Project of Unitarian Universalist

    FaithAction of New Jersey; Lutheran Social Services of New York (LSSNY); Maryknoll Office

    for Global Concerns; Metropolitan New York Synod of the Evangelical Lutheran Church in

    America; Muslim Advocates; Muslim Bar Association of New York; Muslim Public Affairs

    Council; Muslim Urban Professionals (Muppies); Muslims for Peace, Inc.; Muslims for

    Progressive Values; National Council of Jewish Women; NETWORK Lobby for Catholic Social

    Justice; New Jersey Interfaith Coalition; New Mexico Conference of Churches; New Mexico

    Faith Coalition for Immigrant Justice; New Sanctuary Coalition of New York; New Sanctuary

    Movement of Philadelphia; New York Board of Rabbis; New York Conference United Church

    of Christ; Pacific Northwest Conference of the United Church of Christ; Presbytery of New York

    City; Queens Federation of Churches; Religious Institute; Romemu; Santa Fe Monthly Meeting

    of the Religious Society of Friends (Quakers); Second Presbyterian Church, Albuquerque, New




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    Mexico; Sikh Coalition; Sisterhood of Salaam Shalom; Society for the Advancement of Judaism;

    St. Andrew Presbyterian Church in Albuquerque, New Mexico; St. Luke’s Episcopal Church in

    Long Beach;    St. Mark’s Episcopal Church (Albuquerque, New Mexico); St. Stephens’

    Episcopal Church in Boston; T’ruah: The Rabbinic Call for Human Rights; Temple Israel of the

    City of New York; Temple Sinai (Washington, DC); Town and Village Synagogue, New York,

    New York; Trinity Church Wall Street; Union for Reform Judaism, including Reform Jewish

    Voice of New York State; Unitarian Universalist Mass Action Network; Visitation BVM Church

    in Philadelphia, Pennsylvania; West End Synagogue (New York City); Westminster Presbyterian

    Church of Santa Fe; and Women of Reform Judaism.




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                                         INTRODUCTION

         Since DACA’s inception in 2012, American religious communities of many faiths have

  supported the program as a just and compassionate response to a moral and humanitarian crisis.

  The children and young adults eligible for and currently receiving the benefits of DACA status

  (often referred to as “Dreamers”) were, in most cases, brought to this country as children by their

  parents. They have lived most of their lives in the United States, typically with no memory of

  any other home. Only young people who have pursued education or served in our military, and

  have no significant criminal record, are eligible for DACA status. Yet they now face deportation

  to often dangerous and unfamiliar places, or a life in the undocumented shadows.

         Amici believe, on the basis of faith and morality, that these children and young adults

  must be protected. Amici therefore offer this brief in support of the plaintiffs’ motions for

  preliminary injunctions in order to address how, in their view, the Government’s proposed

  termination of DACA (the “Termination Memo”) would cause irreparable harm and constitute a

  severe detriment to the public. Amici have firsthand knowledge of the valuable contributions to

  faith and community made by DACA recipients and understand all too well the harm that the

  termination of DACA would cause. For example, ending DACA would put Nancy, an Associate

  Pastor at amicus St. Luke’s Episcopal Church in Long Beach, California, who came to the

  United States from Mexico at age seven, at risk of deportation. Amici detail the stories of Nancy

  and others like her in Section II(A) below to provide the Court with a sample of the lives that are

  at risk of being upended. Amici also know, because of their religious and charitable work in

  Latin America and other regions, the challenges and dangers these young people face if they are

  deported.

         Amici also have a direct stake in these issues beyond their religious concerns and the

  protection of their congregants. First, amici stand to lose the substantial benefits they currently


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  enjoy as a result of the varied contributions that DACA recipients make to their congregations

  and institutions.

         Second, if the Termination Memo is carried out and DACA recipients and DACA-

  eligible individuals are forced into hiding, amici will suffer an impairment of their ability to

  carry out their core mission to provide spiritual guidance and general assistance to people of all

  backgrounds and faiths.

         Third, many amici have and will continue to offer sanctuary to those facing deportation.

  Amici’s churches, mosques, and synagogues are ostensibly designated by U.S. Immigration and

  Customs Enforcement (“ICE”) as sensitive locations to be avoided by enforcement officials, but

  ICE has shown a growing willingness to target and exploit, rather than avoid, sensitive locations.

  Amici will be on the front line of this conflict if DACA is rescinded: honoring their convictions

  to protect DACA recipients will risk ICE raids on or around their houses of worship.

         For the reasons set forth herein and in Plaintiffs’ and other amici’s briefs, amici urge the

  Court to grant the preliminary injunctions restraining the Termination Memo in its entirety,

  rather than allowing any aspect of the Termination Memo to go into effect.             This is the

  appropriate remedy pursuant to the Administrative Procedures Act, as described in Section III

  below, and is necessary to prevent irreparable harm.

                                           ARGUMENT

         Plaintiffs have filed motions asking the Court to enter a preliminary injunction

  suspending the Government’s planned termination of DACA. (See Dkt. 123 in Case No. 16-cv-

  4756 and Dkt. 96 in Case No. 17-cv-5228). As set forth therein, to succeed on their applications,

  Plaintiffs must show, inter alia, that the Government’s proposed actions would cause irreparable

  harm and constitute a severe detriment to the public. See, e.g., Pretty Girl, Inc. v. Pretty Girl

  Fashions, Inc., 778 F. Supp. 2d 261, 264-65 (E.D.N.Y. 2011) (Garaufis, J.). Amici endorse the


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  arguments set forth by Plaintiffs, and submit this brief to further illustrate the irreparable harm

  that implementation of the Termination Memo would cause, and to set forth the parameters of

  the appropriate relief this Court should grant.

        I.          RELIGIOUS ORGANIZATIONS SUPPORT DACA AS A JUST
                    RESPONSE TO A HUMANITARIAN CRISIS

             Amici object to the Government’s arbitrary and ill-reasoned decision to rescind DACA on

  moral, spiritual, and religious grounds.             Although they represent different faiths and

  denominations, amici are in unequivocal agreement that DACA is a force for good in our society

  that should be protected. As amicus Roman Catholic Archdiocese of New York explains,

  “DACA is an important first step to acknowledging and growing the human and social

  contributions and needs of young immigrants and of our own communities.”1 Those who are

  eligible for DACA or who already benefit from it “were brought to the United States” by their

  parents, “now have established roots, have built families, have contributed to their communities

  of faith, work, and family,” and their “energy, spirit, life, and heart are part of this nation, which

  can only benefit from their continued participation.”

             For many amici, these convictions are deeply rooted in their faith and moral principles.

  Temple Sinai of Washington D.C., for example, believes that “as a Jewish institution, Biblical

  texts and our Jewish history inform our position on modern day immigration policy. Leviticus

  19 explicitly says, ‘When a stranger sojourns with you in your land, you shall do him no

  wrong.’” St. Luke’s Cathedral in Long Beach, California, similarly states that “for us, this is a

  biblical rather than a political issue.”          And as the Catholic mission Maryknoll attests,

  “recognizing the hardships and struggles of immigrant families, and the tremendous economic



  1
    Quotes from amici or individual congregants herein are drawn from interviews conducted by counsel to provide
  the Court with a fuller understanding of how DACA has impacted American religious communities.


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  and social contributions Dreamers make to the United States, we feel it is unethical to send

  Dreamers back to countries they hardly know, as well as a senseless loss to our nation.”

          For others still, supporting DACA is part of their social justice mission. Christ Church

  Cathedral in Cincinnati has, in light of the Government’s immigration policy priorities, “focused

  its social justice concerns on matters of immigration and the impact that deportations or the

  repeal of DACA will have on God’s children.”

          Amici and groups like them have, accordingly, objected vocally to the arbitrary repeal of

  the DACA program. On September 5, 2017, when the Government announced its decision to

  terminate DACA, countless religious groups and leaders released statements of condemnation.

  The United States Conference of Catholic Bishops publicly called the decision “reprehensible,”

  “unacceptable,” and “a heartbreaking moment in our history that shows the absence of mercy

  and good will.”2 The Council on American-Islamic Relations described the move as a “heartless

  action [that] will only serve to create fear and anxiety for the Dreamers and their loved ones, and

  will force them back to living in the shadows, rendering them unable to contribute to our nation’s

  economy.”3 And amici Union for Reform Judaism and Central Conference of American Rabbis

  declared it “morally misguided and poor public policy,” noting that “Judaism demands that we

  welcome the stranger and compels us to work for a just immigration system.”4




  2
   United States Conference of Catholic Bishops, USCCB President, Vice President and Committee Chairmen
  Denounce Administration’s Decision to End DACA and Strongly Urge Congress to Find Legislative Solution,
  http://www.usccb.org/news/2017/17-157.cfm (Sept. 5, 2017).
  3
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  Immigrant Youth, https://rac.org/reform-jewish-movement-assails-white-house-targeting-immigrant-youth (Sept. 5,
  2017).


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             Amici agree wholeheartedly with these statements. Rev. Robin Hynicka of amicus Arch

  Street United Methodist Church (“UMC”) in Philadelphia, for example, describes the

  “mythology surrounding why people migrate” as a campaign to “criminalize immigration” and to

  paint all immigrants as “bad,” when in fact the “the real reasons for these migrations are not

  listened to, considered, or understood.” He explains: “From a faith perspective, we take a

  baptismal vow that states we will resist evil, injustice, and oppression in any form in which it

  presents itself. The current immigration system and the move to end DACA create unjust

  circumstances, made manifest in human suffering. The attempt to crack down on Dreamers is a

  serious, cynical, evil action that has nothing to do with safety or justice. We have a theological

  and moral obligation to oppose these forces.”

             Amici include entities that have taken active steps to protect Dreamers. A nation-wide,

  interfaith network of communities and congregations known as the New Sanctuary Movement,

  of which many amici are a part, have pledged to stand in solidarity with immigrants facing

  deportation.5 These groups provide preparedness training and legal counseling and referrals;

  accompany individuals to immigration hearings; run awareness programs and panel discussions;

  and conduct advocacy aimed at supporting immigrant communities through the lens of faith.

  Amicus New Mexico Faith Coalition for Immigrant Justice, for example, provides these services

  “in order to create better immigration laws and a more just system that supports the well-being of

  all,” and employs two DACA recipients in their three-person office. Similarly, amicus New

  Sanctuary Movement of Philadelphia is a network of diverse ministries that participate in

  trainings, workshops, campaigns and events, and accompany families facing deportation. They

  believe that the Government’s actions “violate the fundamental teachings of the Judeo-Christian

  traditions—to welcome the stranger and love your neighbor as yourself.” And amicus New
  5
      See Sanctuary Movement, http://www.sanctuarynotdeportation.org/.


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  Sanctuary Coalition of NYC is an interfaith network working “to reform immigration

  enforcement practices and policies, both locally and nationally, with a special focus on

  preserving family unity.” As explained below, many amici and congregations like them have

  offered themselves as places of sanctuary, providing shelter to those targeted for deportation

  actions.

              Amici thus oppose with deep conviction the Government’s arbitrary decision to terminate

  DACA.         As institutions of faith with a special interest in servicing vulnerable immigrant

  populations, amici have direct knowledge of the harm that the Government’s actions will cause

  to them and the people with whom they live, work, and worship.

        II.          TERMINATION OF DACA WILL CAUSE AMICI, THEIR
                     CONGREGATIONS, AND THEIR COMMUNITIES IRREPARABLE
                     HARM AND POSES A GRAVE THREAT TO PUBLIC WELFARE

              The early and arbitrary termination of DACA will not only imperil Plaintiffs, it will

  directly harm amici and their congregants, clergy members, staff, clients, and communities.6 In

  the words of amicus Church Council of Greater Seattle, “DACA-recipients are our brothers and

  sisters, relatives, service-providers, congregational members, initiators of small business, and

  protectors of our communities and nation,” and the Government’s actions would “deprive

  hopeful and patriotic men and women of the opportunity to exercise their hopes and dreams, to

  the detriment of the common good.” Like our society at large, faith communities, according to

  the Albuquerque Monthly Meeting of the Religious Society of Friends (Quakers), “stand to lose


  6
    Ordinarily, a party seeking a preliminary injunction must show that it—not a third party— will directly suffer harm
  if the injunction is not granted. See Residents & Families United to Save Our Adult Homes v. Zucker, No. 16-CV-
  1683 (NGG) (RER), 2017 U.S. Dist. LEXIS 127152, at *4-6 (E.D.N.Y. Aug. 9, 2017) (denying motion for
  preliminary injunction in part because plaintiff only alleged harm to non-parties). With regard to the States’ case,
  however, harm to amici equates to harm to the Plaintiffs who, as parens patriae, are “the protectors of the health and
  welfare of [their] citizens” and who therefore sue on amici’s behalf. See New York v. Schweiker, 557 F. Supp. 354,
  359 (S.D.N.Y. 1983) (granting State of New York’s motion for preliminary injunction in part because of harm posed
  to New York residents). In the Batalla Vidal Plaintiffs’ case, harm to amici is relevant to whether an injunction is in
  the public interest.


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  the tremendous investment made over many years to bring DACA recipients into adulthood with

  skills and multicultural perspectives that are sorely needed by the larger community and the

  nation.”

         The Government’s planned actions would cause harm on various levels. First, DACA

  recipients are vital members of amici’s congregations and workforces whose loss of status will

  not only disrupt their lives, but harm amici who benefit from their participation. Second,

  termination of the DACA program will impair the ability of amici and other religiously-affiliated

  organizations to carry out their missions to help people of all backgrounds and faiths. Third, as

  institutions of faith and sensitive locations for immigration enforcement purposes, many amici

  face the grim prospect that following their spiritual calling to provide sanctuary for targeted

  Dreamers will result in the religious entities themselves being targeted by immigration

  enforcement authorities, a concern that would increase dramatically with the termination of

  DACA.

             A.      Direct Harm to Amici and their Congregants

         To illustrate the irreparable harm at issue on this motion, amici provide the Court with the

  following examples of individual DACA recipients brought to this country as children who have

  enriched their communities, organizations and congregations.

         Nancy.7 Nancy, Associate Rector at amicus St. Luke’s Episcopal Church in Long Beach,

  California, came to the United States from Mexico at age seven. Like many Dreamers, Nancy

  did not know she was undocumented until her junior year of high school, when she applied to

  college and learned what a social security number was—and that she did not have one. Nancy

  describes her life after learning her immigration status as “in the shadows”; she could not get a


  7
   The last names of the individual DACA recipients discussed herein have been withheld to protect their
  privacy.


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  driver’s license, and could not drive a car for fear of getting pulled over and risking deportation.

  For a teenager in Los Angeles, this was no idle fear.

         Nonetheless, Nancy was active in her community. The Episcopal Church served as an

  extended family during her childhood, and by the time she turned 17 Nancy led the largest youth

  group in the Episcopal Diocese of Los Angeles. So great was her dedication that the Church

  paid for her tuition to college and seminary school, where she obtained a Master’s of Divinity

  degree. After obtaining DACA status, Nancy was able to fulfill her dream of becoming an

  ordained Episcopal minister.     Today, Nancy is the associate rector at amicus St. Luke’s

  Episcopal Church, and the Diocese of Los Angeles’s first Latina leader to have grown up in a

  Spanish-speaking Episcopal Church and gone on to pursue ordination. At St. Luke’s, she is

  actively involved in immigrants’ rights activism and education initiatives.

         For Nancy, the Government’s announcement on September 5, 2017 was “a moment of

  complete fear and hopelessness.” She and others like her have “made a life here, trusted the

  system and tried to do things the right way,” but now “run the risk that we will be hunted down

  and sent to a country that we do not know.”

         Rafael. Brought to Los Angeles at three years old, Rafael, an office assistant with

  amicus New Mexico Faith Coalition for Immigrant Justice, was born in Guanajuato, Mexico.

  Rafael’s parents, having risked everything to bring him to the United States, sought to instill in

  him the values of hard work and education. They succeeded. Rafael completed a Bachelor’s

  Degree with a double major in History and Chicano Studies from California State University

  Dominguez Hills while working full time to pay his tuition and support himself. After obtaining

  DACA status, Rafael went on to obtain a Master’s Degree in American Studies at the University

  of New Mexico, where he is now a Ph.D. candidate and an instructor.




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         Rafael’s parents also instilled in him the values of Catholicism. He believes that faith-

  based organizations “fill the gaps of social justice and service that many times nation-states do

  not offer.” As such, he works for amicus New Mexico Faith Coalition for Immigrant Justice as

  an office assistant. Rafael is proud to contribute to their work, which he sees as fulfilling

  community needs and a natural expression of his Catholic faith.

         For Rafael, the end of DACA represents drastic and dangerous change. It spells the end

  of access to the work that he loves and a halt to his career after graduation. Moreover, it means

  “going back to living in the reality of survival mode,” forever uncertain of his place and

  permanence in his own home, and without opportunity to flourish and grow.

         Andrea. Andrea is a legal assistant at amicus American Friends Service Committee.

  Andrea was born and baptized in Ecuador, but brought to New Jersey by her parents when she

  was a year and a half old. Andrea grew up in the Catholic Church. She went to Sunday school,

  took First Communion, and received Confirmation at her church in the Newark area, where she

  continues to volunteer in youth groups and for fundraising activities.

         Andrea’s parents, like many parents of Dreamers, prioritized her education. Knowing

  she could not obtain financial aid, Andrea’s parents, both union members, carefully saved. After

  Andrea earned a paralegal degree from community college, her parents put her through Rutgers

  University’s undergraduate program. Nonetheless, until DACA, Andrea’s life was one of fear

  and constraint. She kept her undocumented status secret, and had to refrain from the normal day-

  to-day activities and jobs that her friends freely engaged in.

         Andrea graduated from Rutgers summa cum laude. After she obtained DACA status, she

  was hired as a paralegal at a law firm, and was proud to have a job and a salary. Andrea’s dream

  is to go to law school in the United States. For her, the end of DACA puts her dream to a halt




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  and threatens to send her to Ecuador, a place she has never set foot since she was an infant. In

  the face of this peril, Andrea maintains, “I love this country and I can’t imagine living

  elsewhere.”

                                              *        *     *

         The harm that these individuals would suffer as a result of their loss of DACA status is

  readily apparent. See Nunez v. Boldin, 537 F. Supp. 578, 587 (S.D. Tex. 1982) (“Deportation to a

  country where one’s life would be threatened obviously would result in irreparable injury.”);

  Kalaw v. Ferro, 651 F. Supp. 1163, 1167 (W.D.N.Y. 1987) (enjoining deportation proceeding

  and finding irreparable harm because “petitioner’s deportation would make her ineligible for any

  subsequent application for legalization”). Amici would be harmed as well; not only do people

  like Nancy, Rafael and Andrea contribute richly to religious and faith-based organizations

  through their own individual efforts, they serve as mentors and inspire others to give back to

  institutions from which they have benefitted. If the Termination Memo goes into effect, nearly

  800,000 Dreamers—many with stories similar to the three detailed above—will be forced out of

  the country or into hiding. Amici will suffer incalculable harm if they are deprived of the

  contributions and talents of these young congregants and community members.

         Moreover, as amici know from their work in other parts of the world, Dreamers deported

  would face tremendous challenges and even physical danger.          For example, Gerry Lee and

  others from amicus Maryknoll Office for Global Concerns have lived and worked with

  impoverished families in Mexico, El Salvador, Guatemala, and other countries to which DACA

  recipients face deportation. In Haiti, for example, “Maryknoll Sisters have witnessed the bare

  struggle for post-disaster survival in the massive slums of Cite Soleil, where they help residents

  subsist from gardens grown in discarded tires on turf fought over by rival gangs.”          In El




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  Salvador, a Maryknoll Lay Missioner witnessed “the anger and pain that pervades communities

  preyed upon by powerful gangs, where immediate survival forces youth to face grim choices

  between lives of drugs and guns—or escape.” In Guatemala, a Maryknoll Father reports on the

  “rising rates of femicide” and sums up what motivates millions of rural migrants in a single

  word: “desperation.” And along the U.S.-Mexico border, Maryknoll Missioners hear daily the

  “stories of desperation from the countries to which many Dreamers might be returned,” namely,

  that “poverty, starvation, extortion, sexual assault, gang violence, and political oppression are

  among the conditions cited as triggers to leave.” In one such encounter in Nogales, Sonora, “a

  man travelling north with his son from Honduras merely pointed south and said, “There is no life

  there anymore.” Children raised in America knowing no other country should not have to face

  deportation into such conditions.

             B.     Impairment of Amici’s Ability To Carry Out Their Missions

         It goes without saying that religious and faith-affiliated organizations such as amici play

  a vital role in society. Countless lives have been uplifted and enriched by the spiritual guidance

  as well as the material and legal assistance these institutions provide. Immigrants and their

  families—including children brought to this country at a young age—are among the groups that

  have benefitted most from the support furnished by amici and similar organizations. By aiding

  such vulnerable individuals, faith-based organizations including amici have helped to make their

  entire communities more prosperous, united and civically engaged than they otherwise would be.

         Implementation of the Termination Memo would undermine these efforts by making it

  virtually impossible for amici to continue their outreach to Dreamers and their families, causing

  amici irreparable harm. See Step by Step, Inc. v. City of Ogdensburg, 176 F. Supp. 3d 112, 135

  (N.D.N.Y. 2016) (finding irreparable harm to not-for-profit provider of mental health support

  services because defendant city’s denial of zoning approval of housing for the mentally ill


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  deprived plaintiff of its ability to pursue its mission); First Step, Inc. v. City of New London, 247

  F. Supp. 2d 135, 156-57 (D. Conn. 2003) (finding irreparable harm to not-for-profit group

  dedicated to assisting individuals with disabilities because “[b]y hindering First Step’s attempts

  to relocate to a building that is handicapped accessible and that would better accommodate the

  programs First Step sought to offer, the defendants are preventing First Step from serving some

  clients and diminishing the quality and variety of First Step’s programs, undermining First Step’s

  purpose of ‘educating and assisting individuals with disabilities to achieve independence and

  integrate into the larger community,’ thus denying it “the ability to pursue its mission”).

           Amici cannot reach people in need if those people are hiding in the shadows or have been

  deported. If the Termination Memo is implemented, amici and similarly-situated organizations

  will lose their ability carry out their core mission to assist those in the greatest need of help. This

  will result in the needless suffering not only of at-risk individuals, but of their communities as a

  whole.

               C.      As Sensitive Locations for Immigration Enforcement Purposes, Some
                       Amici Will be Called Upon to Provide Sanctuary While at the Same Time
                       Risking Being Targeted for Immigration Raids

           Finally, religiously-affiliated organizations like amici occupy a unique position in matters

  of immigration enforcement, particularly with respect to DACA. Pursuant to an October 2011

  memorandum by then-ICE Director John Morton, ICE is not to engage in immigration

  enforcement actions such as arrests, interviews, searches, or surveillance at churches,

  synagogues, mosques, or other houses of worship, unless exigent circumstances or other law

  enforcement purposes exist, or if prior approval is obtained (the “ICE sensitive locations

  policy”).8 In 2016, while the prior administration was still in office, then-Secretary of Homeland


  8
   Memorandum from John Morton, Director, U.S. Immigration and Customs Enforcement to Field Office Directors,
  Special Agents in Charge, and Chief Counsel (Oct. 24, 2011), https://www.ice.gov/doclib/ero-outreach/pdf/10029.2-


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  Security Jeh C. Johnson publicly reiterated that “when enforcing the immigration laws, our

  personnel will not, except in emergency circumstances, apprehend an individual at a place of

  worship, a school, a hospital or doctor’s office or other sensitive location.”9 The ICE sensitive

  locations policy remains in effect today, at least as an official matter.10

           The ICE sensitive locations policy recognizes that houses of worship are sacred spaces of

  sanctuary and peace, where community members can go and be without fear of harassment or

  arrest. Many amici and others like them proudly fulfill that role and have pledged to offer their

  churches, synagogues, and mosques as sanctuaries to those at risk of deportation. Temple Sinai

  DC, Christ Church Cathedral in Cincinnati, St. Luke’s in Long Beach, Arch Street UMC in

  Philadelphia, Albuquerque Friends Meeting, the many members of amici New Sanctuary

  Movement of Philadelphia, New Mexico Faith Coalition for Immigrant Justice, and New

  Sanctuary NYC, and others have publicly declared their status as sanctuary congregations.

  These organizations maintain dedicated, furnished space for visitors who need protection, and

  rely on their congregants for support in doing so.

           In each case, the decision to become a sanctuary congregation is made after careful

  discussion among congregations and communities, and reflects broad religious consensus on this

  issue. The Albuquerque Friends Meeting, for example, when called upon to respond to an urgent

  need for sanctuary by a community member, convened their members and attenders. “Through a

  process of deep discernment together—and in commitment to our Quaker values of Equality and

  Community—we were led to a profound sense of Spiritual Unity, meaning we were ‘One in the

  policy.pdf. The sensitive locations policy puts the same restrictions on raids at schools, hospitals, and other public
  settings.
  9
   U.S. Dep’t of Homeland Security, Statement by Secretary Jeh C. Johnson on Southwest Border Security,
  https://www.dhs.gov/news/2016/02/02/statement-secretary-jeh-c-johnson-southwest-border-security (Feb. 2, 2016).
  10
    See U.S. Immigration and Customs Enforcement, FAQ on Sensitive Locations and Courthouse Arrests: Does
  ICE’s policy sensitive locations policy remain in effect?, https://www.ice.gov/ero/enforcement/sensitive-loc.


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  Spirit,’” and the Meeting collectively committed to providing sanctuary. Many amici reported

  that these decisions, while weighty, were not difficult to make. When Arch Street UMC was

  called upon to house a man in danger of immigration detention, “the conversation among the

  congregation wasn’t ‘will we do this,’ but how?” They provided sanctuary to the man in

  question for 11 months.

          Under the current administration, however, the parameters and application of the ICE

  sensitive locations policy is increasingly in doubt. ICE has already begun to target areas adjacent

  to places of worship for enforcement actions, to worrisome effect. For example, earlier this year

  on a freezing cold morning in Alexandria, Virginia, a dozen ICE agents surrounded a group of

  Latino men as they emerged from a church hypothermia shelter where they had spent the night.

  Six men were arrested and taken away in vans.11 After church leaders demanded and were

  refused the names and locations of the men taken, Governor Terry McAuliffe and Senator Tim

  Kaine both sent letters to ICE inquiring about the raid and their enforcement policies near

  churches. ICE responded to neither.12 In suburban Illinois, ICE agents tricked a worshiper into

  leaving a church service—by texting him from his cousin’s cell phone about a fictional car

  accident—and arrested him at a neighboring McDonald’s. They arrived in unmarked cars and

  wore vests that said “Police.” A retired ICE supervisor, interviewed after-the-fact, praised this

  strategy as “actually . . . quite creative.”13

  11
    Julie Carey, NBC Washington, ICE Agents Arrest Men Leaving Fairfax County Church Shelter,
  https://www.nbcwashington.com/news/local/ICE-Agents-Arrest-Men-Leaving-Alexandria-Church-Shelter-
  413889013.html (Feb. 15, 2017).
  12
    Alex Emmons, The Intercept, Targeting a Sanctuary: After ICE Stakes Out a Church Homeless Shelter, Charities
  Worry Immigrants Will Fear Getting Help, https://theintercept.com/2017/02/27/after-ice-stakes-out-a-church-
  homeless-shelter-charities-worry-immigrants-will-fear-getting-help/ (Feb. 27, 2017).
  13
    Odette Yousef, WBEZ 95.1 Chicago, Amid Deportation Push, Suburban Church Grapples with Loss,
  https://www.wbez.org/shows/wbez-news/amid-deportation-push-suburban-church-grapples-with-loss/3d269fc3-
  04e7-4604-bae4-a376a37410c9 (Feb. 15, 2016).



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          ICE has shown a propensity to target sensitive or controversial locations other than

  religious institutions as well. In Charlotte, North Carolina, ICE conducted raids and arrests

  within two miles of a predominantly Latino elementary school.14 Students witnessed the arrests

  as they passed by in school busses.15 In El Paso, Texas, a Latina woman was taken into custody

  by ICE agents dressed in plain clothes after she left a courtroom in a county courthouse. The

  criminal complaint filed against her indicates that ICE knew she was living at a domestic and

  sexual abuse resource center.16

          These incidents indicate that instead of abiding by the spirit of the sensitive locations

  memorandum—that is, to avoid immigration enforcement at sensitive locations—ICE is using

  houses of worship and other locations as lures for easy, unsuspected surveillance and arrest.

  This puts amici in the untenable and unacceptable position of at once heeding their faith-based

  calling to provide sanctuary while at the same time attracting the attention of those who would

  do harm to the people amici seek to protect. This crisis of conscience has sewn fear and anxiety

  among amici and their congregants and supporters. These concerns will be greatly exacerbated

  if the Termination Memo goes into effect and the DACA program is terminated.




  14
    Tina Vasquez, Rewire, Have Trump’s Mass Deportations Begun? Immigration Arrests Reported Around the
  Country, https://rewire.news/article/2017/02/10/trumps-mass-deportations-begin-immigration-arrests-reported-
  around-country/ (Feb. 10, 2017).
  15
    Qué Pasa Mi Gente, Arrestos de ICE cerca de escuela elemental de mayoría hispana,
  https://charlotte.quepasanoticias.com/noticias/ciudad/local/arrestos-de-ice-cerca-de-escuela-elemental-de-mayoria-
  hispana (Feb. 9, 2017), translation available at
  https://translate.google.com/translate?hl=en&sl=es&tl=en&u=https%3A%2F%2Fcharlotte.quepasanoticias.com%2F
  noticias%2Fciudad%2Flocal%2Farrestos-de-ice-cerca-de-escuela-elemental-de-mayoria-hispana.
  16
    ABC-7 KVIA, Which places are considered ‘sensitive locations’?, http://www.kvia.com/crime/which-places-are-
  considered-sensitive-locations/338319025 (Feb. 16, 2017).


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       III.          THIS COURT SHOULD ENJOIN THE TERMINATION MEMO IN
                     FULL AND NATIONWIDE UNDER THE ADMINISTRATIVE
                     PROCEDURES ACT

              As illustrated by the stories detailed in the preceding sections, the Termination Memo

  will cause irreparable harm to individuals from all walks of life and across the entire United

  States. The Termination Memo will affect nearly 800,000 DACA grantees along with their

  family members, communities, and faith groups. In order to address fully the scope of the harm

  the Termination Memo has inflicted and will continue to cause, this Court should enjoin

  implementation of the Memo nationwide and in its entirety.

              Contrary to the Government’s assertion, injunctive relief should not be limited to

  “particular individual Plaintiffs found to have cognizable claims.”17 The “systemwide impact”

  the Termination Memo will have warrants a “systemwide remedy.” Lewis v. Casey, 518 U.S.

  343, 359 (1996) (internal quotation marks omitted). When a court determines that an executive

  action facially violates statutory constraints, a comprehensive injunction that sets aside the entire

  action is the “ordinary result.” Nat’l Mining Ass’n v. U.S. Army Corps of Eng’rs, 145 F.3d 1399,

  1409 (D.C. Cir. 1998) (the “result is that [the action is] vacated—not that [its] application to the

  individual petitioners is proscribed”) (internal quotation marks omitted). This is especially

  appropriate where, as here, Plaintiffs challenge not only the application of an action “in an illegal

  manner on a particular occasion” but instead generally challenge the validity of a policy “of

  broad applicability.” Id. (quoting Lujan v. Nat’l Wildlife Fed’n., 497 U.S. 871, 913 (1990)

  (Blackmun, J., dissenting on other grounds)). Any other outcome would lead to the unjust result

  of halting the Termination Memo’s effects for only a fraction of persons impacted by it.




  17
    Memorandum of Law in Support of Defendants’ Motion to Dismiss, (Case No. 16-cv-4756 Dkt. 95-1;
  Case No. No. 17-cv-5228 Dkt. 71-1), at 40.


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          In fact, a limited injunction of this nature would “merely . . . generate a flood of

  duplicative litigation.” Id.; see also Harmon v. Thornburgh, 878 F.2d 484, 495 n.21 (D.C. Cir.

  1989) (“When a reviewing court determines that agency regulations are unlawful, the ordinary

  result is that the rules are vacated—not that their application to the individual petitioners is

  proscribed.”).   The Termination Memo is precisely the type of agency action of “broad

  applicability” that should be enjoined in total, not least in order to avoid unnecessary and

  repetitive litigation and promote judicial economy. See National Mining Ass’n, 145 F.3d at 1409

  (refusal to sustain broad injunction where adversely impacted individuals can each challenge the

  agency action “is likely merely to generate a flood of duplicative litigation”). In the Batalla

  Vidal case, a broad injunction would also eliminate the need to certify a class in order to grant

  comprehensive relief. See Immigration Assistance Project of Los Angeles Cty Fed’n of Labor

  (AFL-CIO) v. INS, 717 F. Supp. 1444, 1447 (W.D. Wash. 1989), aff'd in part and rev’d in part,

  976 F.2d 1198 (9th Cir. 1992). By enjoining the implementation of the Termination Memo in its

  entirety, this Court would ensure, in the most efficient manner possible, that all who are harmed

  by this unlawful Government action are able to obtain the relief they deserve.

          Accordingly, this Court should find that the Termination Memo is unlawful on its face

  and enjoin implementation of the Memo in full, not merely in its application to particular

  petitioners represented in this litigation.

                                                CONCLUSION

          For the foregoing reasons, amici respectfully urge the Court to grant plaintiffs’ motions

  for preliminary injunctions.

  Dated: December 22, 2017
         New York, New York




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                                     Respectfully submitted,

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                                           APPENDIX A

                            IDENTITY AND INTERESTS OF AMICI

  1. Albuquerque Insight Meditation Center

          Albuquerque Insight Meditation Center (AIMC) is a community that aspires to end
  suffering through the realization of the Buddha’s teachings. AIMC extends refuge to all who
  seek the liberating teachings of the Buddha and offers non-fear, protection and compassion to all
  living beings. Immigrants covered by DACA fear the loss of its protection. Even though the
  USA is their home, they face the risk of being deported to the countries where they were born
  and where their lives may be in danger. DACA recipients are part of our community, they are
  our neighbors, our friends, our colleagues and our members. We stand with them, for their
  safety, protection and the end of suffering.

  2. Albuquerque Monthly Meeting of the Religious Society of Friends (Quakers)

          Albuquerque Monthly Meeting of the Religious Society of Friends is a Quaker Meeting
  for Worship in Albuquerque, New Mexico, affiliated with Intermountain Yearly Meeting, a
  community of Quaker Meetings and individual Friends situated within the Intermountain West.
  In unity with the shared testimonies of Friends within IMYM, we affirm that “Our witness to the
  world comes from our perception of the Divine Spirit moving through us (IMYM Faith and
  Practice, Advice 1 on Integrity, p. 130).” “Recognizing the oneness of humanity in God, we
  affirm fellowship with all people (Id., Advice 2 on Integrity,, p. 131).” “We affirm that our first
  allegiance is to our experience of the Divine. If this conflicts with any compulsion of the state,
  our country is served best when we remain true to our higher loyalty (Id., Advice 1 on Peace, p.
  132.).” Indeed, “We [must] refuse to join in actions that denigrate others or lead to their
  victimization (Id., Advice 4 on Peace, p. 133.).” Albuquerque Meeting has long been troubled
  by the treatment of refugees and migrants within the US and in the borderlands. In 2014, we
  committed ourselves “. . . to assure that the humanity of every migrant to our borders is honored
  and that all are treated with compassion and dignity, regardless of what their legal status may
  ultimately be determined to be.” (AMM minute 2014.8.3). We care about DACA recipients
  because they are threatened with an assault on their humanity. We cannot be faithful to the Light
  that Spirit has granted us and ignore what is being done in our name to these brothers and sisters.

  3. American Association of Jewish Lawyers and Jurists (AALJ)

          The AAJLJ is a membership association of lawyers and jurists open to all members of the
  professions regardless of religion. It is an affiliate of the International Association of Jewish
  Lawyers and Jurists, which is based in Israel and was founded by the late Justice Arthur
  Goldberg of the United States Supreme Court and the late Justice Haim Cohen of the Supreme
  Court of Israel. The mission of the AAJLJ includes representation of the American Jewish
  Community in regard to legal issues and controversies that implicate the interests of that
  community. The Association carries out that mission through advocacy in the public arena and
  in the courts, educational programs, and representation of individuals whose religious and other
  human rights have been threatened or abridged. As a minority that has historically faced
  exclusion from the United States and other countries during times of dire peril, the Jewish
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  community strongly supports the role of the United States as a refuge from tyranny, war and
  oppression.

  4. American Friends Service Committee

          The American Friends Service Committee (“AFSC”) is a Quaker organization whose
  work is shaped by its spiritual framework and based on the belief in the worth of every person,
  and faith in the power of love to overcome violence and injustice. Founded in 1917, AFSC has
  programs throughout the United States that work with immigrants, including many DACA
  grantees, through legal representation, leadership training, community organizing, and policy
  advocacy. AFSC's offices in Florida, Iowa and New Jersey represent and provide a voice for
  many vulnerable immigrant populations, including immigrant detainees, survivors of domestic
  violence and other crimes, asylum seekers, individuals who have faced long struggles to obtain
  legal status, and immigrant children and youth. These three programs have represented hundreds
  of DACA grantees since the DACA program was introduced in 2012. In addition, AFSC
  programs across the United States have engaged in organizing and advocacy with and on behalf
  of young immigrants in their quest for a path to a permanent and secure immigration status for
  themselves, their families and their communities.

  5. Ansche Chesed, New York City

          We are a Conservative synagogue on Manhattan’s Upper West Side, ritually traditional,
  intellectually vibrant and socially progressive. We believe in protecting all the vulnerable of
  society, those who need emotional, spiritual and economic sustenance in the face of those who
  would exploit them. And we believe that society needs Dreamers.

  6. Arch Street United Methodist Church

          Arch Street United Methodist Church (ASUMC) is an historic congregation located in the
  Center Square neighborhood of Philadelphia. Established in 1862 – before Philadelphia’s City
  Hall was built, ASUMC is located at the crossroads of center city and, as such, has one of the
  most diverse congregations in Philadelphia. ASUMC’s vision is to be a welcoming Christian
  community that inspires openness, understanding and reconciliation both within the congregation
  and in the community-at-large. Our mission is to love God and neighbor by nurturing individuals
  on their spiritual journeys, encouraging creativity in faithful service, strengthening relationships
  and promoting justice. ASUMC is a multi-racial, multi-ethnic, multi-class, LGBTQIA and
  immigrant welcoming faith community. As a founding member of POWER (Philadelphians
  Organized to Witness Empower and Rebuild) an interfaith network of 60 congregations,
  ASUMC is in constant contact and community with Muslims, Jews, Roman Catholics, other
  Protestants, Quakers and Ethical Humanists. Through the New Sanctuary Movement and the
  Nationalities Service Center of Philadelphia, ASUMC further expands its connections with
  persons from all over the world, representing a wide variety of cultural and religious expressions.
  ASUMC is a seasoned interfaith and cross-cultural partner and finds great joy in building and
  sustaining compassionate connections across all borders.

         Arch Street United Methodist Church is pleased to sign on to the DACA Amicus Brief on
  Behalf of Religious Organizations. We do so an act of faith in following the teaching of our
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  sacred texts to welcome the stranger and to love our neighbor. In addition, we hold the strong
  opinion that the termination of DACA and the deportation of all those under the provisions of
  DACA would be inhumane, unjust and in direct violations of basic human rights.

  7. Capital Area Muslim Bar Association

           The Capital Area Muslim Bar Association (CAMBA) is a voluntary bar association in the
  Washington , DC metro area with a diverse membership. CAMBA’s mission includes fostering
  a sense of fellowship amongst diverse Muslim legal professionals and amplifying our collective
  voice to impact legal issues affecting the Muslim community. CAMBA’s objectives include
  addressing legal issues affecting the community at large and their related impact on the Muslim
  American community, and educating and advocating for constitutional, civil, and human rights
  for all persons.

  8. Catholic Charities Community Services of the Archdiocese of New York

          Since 1949, Catholic Charities Community Services of the Archdiocese of New York
  (CCCS) has provided direct human and legal services to over 170,000 people each year from all
  parts of New York City and the Lower Hudson Valley. These services are offered to all New
  Yorkers in need, regardless of their religious beliefs, because our work is grounded in the dignity
  of each person and in the building of a just and compassionate society, especially for the most
  vulnerable among us. CCCS is a leading provider of immigration legal, resettlement, and
  integration assistance in its service area, providing direct legal services to individuals, families,
  workers, and children seeking stability and reunification, including application assistance,
  clinical consultation, and direct court representation, hotline and referral information to over
  70,000 callers each year, case management assistance, reception, reunification integration,
  employment and ESL assistance to refugees, asylees and other documented and undocumented
  newcomers, and to all those seeking protection, including over 3,000 unaccompanied minors
  each year.

  9. Central Pacific Conference of the United Church of Christ

          The Central Pacific Conference (CPC) is a community of United Church of Christ
  congregations in Oregon, southern Idaho and southern Washington. In this family of 45
  congregations, our shared commitment is to ministry and mission. The CPC provides spiritual
  and material resources and encouragement to all our 7,600 members. We put purposes and
  programs into action by drawing on the experience and talents of all the conference members,
  both lay people and clergy. The CPC assists and encourages local congregations and their
  members in working together to explore, communicate, support and pursue the ministry and
  mission of the church, and provides a channel for effective relationships with the UCC and with
  other faith communities.

         At its Annual Meeting in September 2016, the Central Pacific Conference of the United
  Church of Christ declared itself to be an "Immigrant Welcoming Conference" which encourages
  the development of policies dedicated to facilitating the respectful welcome and inclusion of all
  immigrants into Oregon, Idaho, and Washington. The Central Pacific Conference was a co-
  sponsor of the United Church of Christ General Synod Resolution calling upon the United
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  Church of Christ to declare itself an Immigrant Welcoming Denomination; the resolution passed
  with an overwhelming vote with 97% of delegates in favor.

  10. Church Council of Greater Seattle

          The Church Council of Greater Seattle is a membership organization of 320
  congregations from 16 Christian denominations in Martin Luther King Jr. County and South
  Snohomish County in the State of Washington. Founded in 1919, we have worked for nearly a
  century to forge ecumenical and interreligious relationships and to serve vulnerable and
  marginalized populations in our midst. We believe in the inherent dignity and worth of every
  human being as a child of God. We believe that God’s love has no exclusions. We are proud to
  have opposed the internment of Japanese-Americans during World War II and to have continued
  to minister to them during and after the war. We played an important role in ending redlining in
  the City of Seattle as part of our legacy of seeking a society built upon equity and social justice.

         DACA is a win-win that has allowed families to stay intact, while creating a pathway
  forward for many in order to strengthen our economy and build up our community fabric.
  Removing DACA will tear apart grantees from loved ones. It is our ministry and responsibility
  to not allow the marginalization of this community and to affirm their voices and self-
  determination for an inclusive, viable future, which will be beneficial for the integrity of the
  United States. The moral and humane solution is to allow those who have benefitted from
  DACA to become United States citizens toward the end of Comprehensive Immigration Reform.

  11. Church of Our Redeemer in Lexington, Massachusetts

          The Church of Our Redeemer in Lexington, Massachusetts serves a parish community
  made up of people from many nations and ethnicities. We seek to foster a thriving community in
  Lexington and beyond by building relationships across differences and forming ministers of the
  Gospel. The decision to end DACA would impact individuals and families who reside in our
  parishes and broader communities. Ending residency for those currently protected by the
  DREAM Act would move our country further away from the principles of justice that we seek as
  people of faith. We are committed, as people of faith, to working together with other responsible
  leaders to justly address the immediate needs of the people affected by this action and ensure
  long-term solutions for communities impacted by exclusionary policies. We stand with
  Dreamers in Massachusetts and across America and implore the courts to represent those most
  impacted by refusing to put the termination memo into effect.

  12. Congregation B’nai Jeshurun (New York City)

          For nearly two centuries, Congregation B’nai Jeshurun (NYC) has been at the forefront
  of American Jewish life. As we move into our third century, our vision is focused on the
  spiritual work of transformation: of ourselves, our community of nearly 1700 member
  households, and of the larger world. We believe that as a faith community we are called upon to
  hold ourselves, each other, and our elected leaders accountable for sustaining the core values of
  our nation, and to bring to bear the moral values of our Jewish tradition and teachings for the
  benefit of all. For many years, these beliefs have manifest through engagement in the growing
  global refugee crisis, and efforts to assist immigrants and refugees in New York City. As such,
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  we strongly support the goals of the DACA program, and we are proud to join this brief to help
  ensure that the rights of all immigrants and refugees, regardless of race, religion, gender identity,
  sexual orientation, financial status, or country of origin, are treated fairly and equally, and with
  respect and dignity, by the American government.

  13. Congregation Beit Simchat Torah

          Congregation Beit Simchat Torah (CBST) is a bold spiritual community of love and
  resistance that embodies a progressive voice within Judaism. Founded in 1973, CBST attracts
  and welcomes gay men, lesbians, bisexuals, transgender, queer and straight individuals and
  families who share common values. Passionate, provocative, and deeply Jewish, CBST
  champions a Judaism that rejoices in diversity, denounces social injustice wherever it exists, and
  strives for human rights for all people.

          CBST is a community of immigrants and refugees and descendants of immigrants and
  refugees. We see those being targeted as part of our community and our neighbors, not our
  enemies. We are reminded of the words from the book of Leviticus that command us to
  welcome the stranger because we, too, were once strangers in a strange land. As LGBTQ people
  and Jews, we know the dangers of demonization, and we embrace resistance and love as our
  response. We cannot be silent. CBST stands committed to furthering social justice and equality
  for all people. We work within the congregation, take public action and lend our names and
  voices to a variety of social and humanitarian causes.

           After the 2016 presidential election, CBST made a commitment to amplify its social
  justice initiatives and as part of that promise, we joined the New Sanctuary Coalition of New
  York City. We are partnering with them on education, training and support for the immigrant
  community in the tri-state area. CBST members regularly support immigrants facing ICE
  hearings and check-ins by attending meetings with DHS officials. We are committed to fighting
  for justice and for the humane treatment of all people.

  14. Council of Churches of the City of New York

          The Council of Churches of the City of New York was organized in 1895 and serves
  through the Christian denominations having ministry in the five boroughs of New York City. Its
  Board of Directors is composed of the bishops and chief executives of the member
  denominational judicatories which, collectively, are related to thousands of Christian
  congregations in the City. The Council, like its member denominations and affiliated
  congregations, are vitally concerned for the well-being of all persons created by God and
  residing in God’s Household, the inhabited earth. In particular, we are concerned for the
  protection and legal status of immigrants, especially those who arrived in this nation as children
  without documentation.

  15. Council on American-Islamic Relations – Michigan Chapter

          CAIR-MI’s mission is to enhance the understanding of Islam, encourage dialogue,
  protect civil liberties, empower American Muslims and build coalitions that promote justice and
  mutual understanding through education, mediation, media and the law. CAIR-MI has been
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  serving the entire state of Michigan since 2000 with an emphasis on Metro Detroit,
  Flint/Saginaw, Ann Arbor/Jackson, Lansing, Kalamazoo/Battle Creek, and Grand
  Rapids/Muskegon.

          In addition to legal services CAIR-MI Safe Spaces program aims to proactively produce
  and implement legal policies and best practices with a variety of institutions to prevent incidents
  of bias and discrimination before they occur. Through the Safe Spaces Program, CAIR-MI has
  successfully drafted and implemented legal policies and best practices at a variety of institutions
  including law enforcement, universities, schools, correctional facilities, government agencies and
  several corporations throughout Michigan. Our Safe Spaces program also engages in youth
  outreach and engagement and anti-bullying programs.

          CAIR-MI opposes the DACA termination memo based on its intent to deport individuals
  who have spent the majority of their lives in the US many of whom know no other home. These
  individuals directly benefit our programs by engaging in outreach and providing diverse voices
  in various programs and internships with our legal and safe spaces programs. The loss of the
  individual and collective voices, ideas and actions provided by DACA recipients would result in
  harm to our mission and programming.

  16. Council on American-Islamic Relations – New Jersey Chapter

           The Council on American-Islamic Relations (CAIR) is the largest Islamic civil liberties
  and advocacy group in the United States. Its mission is to enhance the understanding of Islam,
  encourage dialogue, protect civil liberties, empower American Muslims, and build coalitions that
  promote justice and mutual understanding. The demand for our services has grown
  tremendously. From restrictions placed on Muslims to practice their religion, to profiling and
  discrimination stemming from a lack of understanding of Islam, CAIR-NJ aims to provide that
  relief to the Muslim population in New Jersey. Protecting the rights of New Jersey's Muslims is
  at the core of CAIR-NJ's mission. CAIR-NJ also provides know your rights workshops for our
  constituents to teach them about their fundamental rights guaranteed to them under the
  Constitution. We work vigorously to educate on behalf of community members experiencing
  discrimination and remedy cases through in-person negotiations, from filing charges of
  discrimination, letter writing, and actively litigating in court. Cases range from employment,
  public accommodation and school discrimination, to hate crimes and governmental
  religious/racial profiling. CAIR-NJ’s civil rights department counsels, mediates and advocates
  on behalf of Muslims and others who have experienced religious discrimination, defamation or
  hate crimes. The department works to protect and defend the constitutional rights of American
  Muslims, thereby supporting the rights of all Americans.

          CAIR-NJ opposes the DACA termination memo based on its intended mission of
  potentially deporting 800,000 young undocumented individuals who have spent their entire lives
  in the United States.

  17. Council on American-Islamic Relations – New York Chapter

        The Council on American-Islamic Relations, New York Inc. (“CAIR-NY”) is a leading
  Muslim civil rights organization, defending, representing, and educating nearly one million
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  Muslims in the New York area. CAIR-NY's mission is to protect civil liberties, empower
  American Muslims, and build coalitions that promote justice and mutual understanding.
  Through legal representation, education, media relations, and advocacy, CAIR–NY empowers
  the American Muslim community and encourages their participation in political and social
  activism. CAIR–NY counsels, mediates, and advocates on behalf of Muslims and others who
  have experienced discrimination, harassment, or hate crimes. Our lawyers work to protect and
  defend the constitutional rights of American Muslims, thus supporting the rights of all
  Americans.

  18. Cuba Presbyterian Church (Presbyterian Church, USA), Cuba, New Mexico

          Cuba Presbyterian Church (Presbyterian Church, USA), Cuba, NM is a small, traditional
  congregation in a northern New Mexico village. It was established in 1889 in a multi-cultural
  community made up of Spanish and Mexican settlers among the diverse Native American tribal
  communities – Navajo, Jicarilla Apache, and the nineteen Pueblos; along with the Anglo
  American presence which came into the area in the 1870s. We are keenly aware that we are all
  immigrants, and feel called to assure others the opportunities our families have had. Our mission
  as a church is to spread God’s loving message to all regardless of race or national origin. Ending
  the DACA program has spread fear among some in the area, which overshadows and impairs the
  Christian message we are living in this community.

  19. Degrees of Change

          Degrees of Change is a faith-based organization located in Tacoma, Washington that
  helps communities and colleges equip students to learn together through college and lead
  together back home. Degrees of Change partners with six Christian community-based
  organizations and twelve Christian colleges, serving more than 700 students across five states
  (WA, OR, MN, IL and IN). The curriculum that our community partners deliver to students
  integrates Christian perspectives and teaching on leadership, diversity and community
  development. The Executive Order to end DACA has led more than 60 of our scholars and
  alumni to question their worth and their safety in this country. Deportation has ripped apart
  several of our scholars’ families. Our college partners are struggling to provide financial aid to
  these scholars, and several scholars have dropped out of college because they can no longer
  afford it. Degrees of Change has made efforts to support immigrants facing deportation through
  our public messaging and national conversations with our scholars and community partners.

  20. DMV Sanctuary Congregation Network

         DMV Sanctuary Congregation Network (the network) is a network of 70 congregations
  of 17 religious traditions from DC, Maryland, and Northern Virginia. The network works and
  provides support to immigrant community in the DMV area and works with local allies to
  advance sanctuary policies. Our congregations have DACA-holders congregants who will be
  impacted by the ending of DACA. In the face of hate and discrimination we are committed to
  showing love, compassion and hospitality.




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  21. Dominican Development Center

          Dominican Development Center is a non-profit organization affiliated with Saint Lourdes
  Church/Second Community in Boston, Massachusetts. We seek to develop and empower
  Dominican immigrants and immigrants representing all Latin American and Caribbean
  communities to take full participation on the civic life of this society. We strive to improve the
  quality of life of our members by promoting and organizing around issues that might impact our
  community, including but not limited to current laws, legal procedure, civic engagement,
  education, immigration reform, and human rights among others. The decision to end DACA
  would impact individuals and families who reside in our parishes and broader communities.
  Ending residency for those currently protected by the DREAM Act would move our country
  further away from the principles of justice that we see as people of faith. We add our voice to
  those asking the court to protect DREAMERs by not to allowing the termination order to go into
  effect.

  22. East End Temple (New York City)

        East End Temple is a Reform Jewish congregation located in lower Manhattan in New
  York City that is dedicated to issues regarding immigration and immigrants’ rights. With
  members of the congregation who are immigrants themselves or are descendants of recent
  immigrants, the congregation is particularly committed to the principle and commandment to
  welcome the stranger.

  23. Emgage Foundation

         Emgage Foundation is one of the nation's largest civic education and mobilization
  organizations for Muslim American voters. We provide learning opportunities and events,
  including direct engagement with lawmakers, to increase the civic engagement of Muslim
  Americans and advance values that are important to us as Americans and as Muslims. One of
  our core programs is Get Out The Vote in five electorally important states, including Florida,
  Virginia, Pennsylvania, Texas, and Michigan. Our issue advocacy focuses on combating
  Islamophobia and hate crimes, social justice reform, improving our healthcare system, protecting
  immigrant and refugee communities, and advancing human rights globally.

  24. Episcopal City Mission

          Episcopal City Mission (ECM) fights for racial, economic and immigrant justice through
  building relationships of shared power with faith rooted communities, grass-roots organizations
  and community organizing movements in Massachusetts. Our Episcopal/Anglican lens invites
  us to see all life as sacred and worthy of dignity and justice. This understanding guides us as we
  face into the dynamics of power and enable access and liberation for all communities. As the
  termination of DACA would deny access to those who are protected under the DREAM act we
  ardently ask that the court would not allow the termination order to go into effect




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  25. Episcopal Diocese of Massachusetts
  26. Episcopal Diocese of Western Massachusetts

          The Episcopal Dioceses of Massachusetts and the Diocese of Western Massachusetts
  serve 235 parishes across the state of Massachusetts. We seek to be Christ’s presence of mercy,
  compassion, and hope in the communities we serve. The decision to end DACA would impact
  individuals and families who reside in our parishes and broader communities. Ending residency
  for those currently protected by the DREAM Act would move our country further away from the
  principles of justice that bind us together. We add our voice to those asking the court to protect
  our brother and sister DREAMERs by not allowing the termination order to go into effect.

  27. Episcopal Diocese of New York

          The Episcopal Diocese of New York includes 199 local congregations (parishes) with
  about 66,000 members, 72 deacons, 600 priests and three bishops—including the diocesan
  bishop, currently the Rt. Rev. Andrew M.L. Dietsche, who is our chief pastor. To Episcopalians
  it seems pretty clear what Christians are supposed to do. Jesus said “Thou shalt love the Lord
  thy God with all thy heart, and with all thy soul, and with all thy mind. This is the first and great
  commandment. “And the second is like unto it, Thou shalt love thy neighbor as thyself. On these
  two commandments hang all the law and the prophets.” The first thing, then, after love of
  God—indeed the only thing— is to love our neighbors as ourselves. Not just some of them; not
  just the ones we feel comfortable with; not just the ones who have the same colored skin as us, or
  the same sexual preferences, or who don’t smell; but every single one of them. In fact as
  Episcopalians, we believe that no Christian life can be complete if the person living it does obey
  this command and act on it.

          To end the Deferred Action for Childhood Arrivals would endanger the lives of
  thousands of young people and their families and run contrary to the faith and moral traditions of
  our country. It is unfair to threaten the well-being of young people who arrived in our country as
  children through no choice of their own. Ending DACA without a similar replacement program
  will force these young people to face the future in this country with little access to education and
  employment, and ultimately, could very well lead to sending them to countries where they did
  not grow up, have few support structures, may not even speak the language and may be
  vulnerable to violence and persecution. Any of these scenarios, we believe, is cruel.

  28. Episcopal Society of Christ Church/The Christ Church Cathedral, Cincinnati, Ohio

          The Episcopal Society of Christ Church is a congregation of the Episcopal Church and is
  the Cathedral for the Episcopal Diocese of Southern Ohio. For 200 years, the Cathedral has
  worked in the Cincinnati community to combat poverty and has been involved, since its
  founding, in issues of social justice. The Cathedral carries out its missions through community
  grants, educational opportunities and direct mission work. For example, the Cathedral hosts
  “community forums” to educate the public on issues of social justice and also sponsors a 200 +
  person dinner every Tuesday for our friends who make their homes on the streets, offering not
  only food but also social services. Because of its tradition and continuing programs, the
  Cathedral is interested in helping those who face the prospect of deportation without just cause.
  The Cathedral is keenly aware of the perils faced by those who would be subject to such
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  deportation, including the breakup of families, the impact on economic well-being and the
  dangers faced in home countries. For these reasons, the Cathedral has become involved in the
  sanctuary movement in Cincinnati.

  29. Faith Action Network

          Faith Action Network (FAN) is a statewide (Washington State) interfaith advocacy
  organization that educates, organizes, and mobilizes people of all faith traditions to take action
  on the critical social issues of our day. One of those very current social issues regards the
  Deferred Action for Childhood Arrivals (DACA) program of the federal government. FAN is
  deeply concerned about President Trump’s decision to terminate this important protection
  program for those who came to this country as children by their parent(s) or family member
  many years ago. It is morally reprehensible to think that these young people who know no other
  country than the USA will be deported by next March and sooner. We all know that deportation
  means imprisonment, separation from family, loss of employment and income, and will put their
  lives at risk as they are forcibly displaced to another country. FAN has advocated for those in
  this program (Dreamers) for many years at the state and congressional level to receive equal
  tuition/scholarship opportunities for college and other government benefits. The Dreamers – as
  they are known – love this country, contribute to our economy with their skills and talents, and
  have – and we hope will continue to make our nation better, stronger, and more equitable.

  30. First Christian Church (Disciples of Christ), Santa Fe, New Mexico

          First Christian Church (Disciples of Christ), Santa Fe, is a small, friendly church
  community in the heart of Santa Fe. Established over 75 years ago, First Christian Church
  continues the witness of the Disciples of Christ that stresses that EVERYONE is welcome. Our
  vision is to provide a place and opportunity for those seeking a deeper spiritual life. We are
  passionate about being ecumenical, affirming, forgiving, cooperating, and allowing the freedom
  for each person to develop their own understanding and relationship with God. Our vision is to
  be a faithful, growing church that demonstrates true community, deep Christian spirituality and a
  passion for justice. (Micah 6:8). The Disciples of Christ movement nationally and
  internationally seeks to be a "movement for wholeness in a fragmented world." As we strive to
  live into our mission and vision for wholeness and welcome in a fragmented world, the
  termination of the DACA program challenges our ability to welcome and unite our community.
  Our community has included many immigrants over the years, including DACA beneficiaries
  whose lives have been stabilized by receiving legal recognition. The termination of the DACA
  program is an impediment to our free practice of religion as a welcoming congregation seeking
  to bridge divides and create wholeness. The lives of the young people who will not receive
  DACA will be profoundly hurt by this decision, which will hurt all of us.

  31. First Congregational United Church of Christ (Albuquerque, New Mexico)

            We are strong supporters of DACA. Our mission is to live God’s love, justice, and
  inclusion and we believe that should be for all. We are currently offering sanctuary to a refugee
  at our church as a part of our faith commitment to the principle that “God’s doors are open to
  all.” It is a privilege to walk with one together in this journey toward a just immigration system.

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  32. First Presbyterian Church of Santa Fe, New Mexico

          The congregation of FPC Santa Fe is inclusive and open to all regarding nationality,
  immigration status, ethnicity, social status or gender and sexual orientation. We are a member of
  the Presbytery of Santa Fe and the Presbyterian Church (USA). Our denomination has
  consistently and historically expressed support for the values, safety, gifts and perspectives for
  immigrants of all nations, and has also called for the ongoing support and protection of DACA
  recipients.

  33. First Presbyterian Church of Taos, New Mexico

          Our congregation’s call to love God and our neighbors extend to all members of the Taos
  community, regardless of immigration status. We know and love immigrants and DACA
  recipients in our community, and we know that our church and our community is enhanced by
  their presence. We believe that DACA is a humanitarian issue for our community and for all
  God’s people. Additionally, our denomination has consistently and historically expressed
  support for the values, safety, gifts, and perspectives of immigrants of all nations, and has called
  for the ongoing support and protection of all DACA recipients. We sign onto this Amicus Brief
  in the spirit of Leviticus 19, which calls us not to oppress immigrants but to love each immigrant
  as ourselves, and in the Spirit of Matthew 25, in which Jesus reminds his disciples that when we
  welcome a stranger, we welcome Jesus Christ himself.

  34. First Unitarian Congregational Society in Brooklyn

          As a member congregation in the Unitarian Universalist Association, the First Unitarian
  Congregational Society in Brooklyn (First U Brooklyn) is committed to: the inherent worth and
  dignity of every person; justice, equity and compassion in human relations; and the goal of a
  world community with peace, liberty and justice and for all. Consistent with these principles,
  First U Brooklyn has declared ourselves a sanctuary congregation, invoking the millennia-old
  tradition of a house of worship offering a safe space and time for individuals in need. First U
  Brooklyn specifically offers safe space and time for immigrants and refugees to examine their
  options and make the soundest decisions when faced with possible deportation.

         But Dreamers protected by DACA should have no need for sanctuary. Our country has
  already recognized that it is just and appropriate to allow these young men and women, who
  came to this country at an early age and in good conscience, to make a life for themselves in the
  United States, just as so many of our ancestors did. Terminating DACA now would
  unconscionably disrupt and threaten their lives and those of their families and loved ones. The
  righteous path is for our country to maintain the commitments we have made to these young
  people under DACA. While First U Brooklyn is proud to offer sanctuary to those in need,
  Dreamers should continue to be protected under DACA, and have no need of sanctuary.

  35. First United Presbyterian Church of Las Vegas, New Mexico

         Our inclusive congregation is a member of the Presbytery of Santa Fe and the
  Presbyterian Church (USA). This denomination has historically supported the valuable gifts and
  perspectives of immigrants. The church has called for support of DACA recipients. Our church
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  community stands for justice and, from that standpoint, we wish to protect the rights of all
  people—especially those most vulnerable. For this reason, we express our support of the Amicus
  Brief.

  36. Global Justice Institute

          The Global Justice Institute serves as the social justice arm of Metropolitan Community
  Churches, and works with LGBTQI activists and allies around the world to support projects for
  social change. One of our programs, ASAP (Asylum Seekers Assistance Program) has enabled
  LGBTQI people fleeing persecution to resettle in safer environments. We have consistently
  lobbied on behalf of DACA and those it supports.

  37. Immanuel Presbyterian Church (Albuquerque, New Mexico)

          The Immanuel Presbyterian Church is a community of ordinary people experiencing and
  actively sharing God’s extraordinary love. Our inspiration for life is Jesus Christ. From that
  inspiration, we are committed to be spiritually alive and relevant to today’s world, providing an
  atmosphere where both faith and doubts can be voiced. We are grounded in a transformational
  theology that calls us to equip Christians to carry their faith into the wider community. Our
  church is inclusive to all.

  38. Interfaith Alliance of Iowa

           Interfaith Alliance of Iowa is a progressive voice for people of faith and no religious
  affiliation in Iowa protecting religious freedom, ensuring religion is not misused to discriminate,
  championing individual rights, and uniting diverse voices to challenge extremism. We educate
  and advocate on many issues of social justice, but always leading through a lens of civility.

         DACA is important to the fabric of our state because it has allowed Iowans – Dreamers -
  to come out of the shadows, live without fear, and contribute more fully to the communities in
  which they live. Dreamers only want to work, go to school, and be family in a secure
  community. They want to worship in safety. They want their children to get an education. They
  want to be good neighbors. As an organization, we believe in the American Dream and we
  believe that ensuring Dreamers can participate in our communities not only helps them but helps
  the communities in which they live.

  39. Iowa Conference of the United Church of Christ

          The Iowa Conference of the United Church of Christ is a regional association of 168
  UCC congregations. In supporting this brief we are represented by our staff and Board of
  Directors. Our rationale for this support is theological and practical: Hospitality and welcome
  for neighbors – both long-time and newly arrived – is fundamental to our values and our identity.
  Our congregations were mostly formed 140 to 175 years ago – many by immigrants. We are
  convinced that the fabric of our communities is stronger today for the inclusion of those who
  came here as “outsiders” over a century ago; similarly we believe that our communities will be
  strengthened by the inclusion of immigrants newly in our midst, and are consequently strongly
  supportive of DACA.

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  40. Islamic Society of Basking Ridge

          The Islamic Society of Basking Ridge is dedicated to providing Islamic religious,
  educational, cultural and social services to Muslims living or working in Somerset Hills, New
  Jersey, and the surrounding areas; providing these services in an open, diverse, inclusive and
  moderate environment, consistent with the Qur’an and Sunnah; and promoting interfaith and
  intra-faith dialogue in order to improve relations between Muslims and people of other faiths.
  We strongly believe as part of our religious outreach that our laws must be applied fairly and
  justly to all communities. We feel that the children and young adults eligible for DACA and
  currently receiving its benefits are entitled to the equal protection of the law.

  41. Islamic Society of Central Jersey

          The ISCJ is an organization of Muslim Americans that was formed in 1975 that provides
  religious, educational and social services to its members, as well as to the community at large.
  The ISCJ established a place of worship in South Brunswick, NJ in the early 1980s. The ISCJ
  aspires to be the anchor of a model community of practicing Muslims of diverse backgrounds,
  democratically governed, efficiently served, relating to one another with inclusiveness and
  tolerance, and interacting with neighbors and the community at large in an Islamic exemplary
  fashion.

          The ISCJ is very concerned about the issues raised in this matter as it believes that the
  arbitrary rescission of DACA will certainly harm our diverse congregation and community by
  forcing members of organizations to leave the country or to live in fear. This action is contrary to
  the ISCJ’s moral, spiritual and religious beliefs and practices.

  42. Lab/Shul

          Lab/Shul is an everybody friendly, artist-driven, God-optional, experimental community
  for sacred Jewish gatherings based in NYC and reaching the world. The Lab/Shul community is
  dedicated to exploring, creating and celebrating innovative opportunities for contemplation, life
  cycle rituals, the arts, life-long learning and social justice. We oppose the termination of the
  DACA program for three reasons:

         1. Terminating DACA would prevent us from fully fulfilling our mission as a spiritual
            community that is “everybody friendly,” including to immigrants and specifically
            DACA recipients.

         2. Many of us are friends with or have worked with DACA recipients and we know
            them to be upstanding members of society that add to the cultural and economic
            fabric of the United States.

         3. Most of our community identifies as Jewish. It is commonly known that Jewish-
            American narratives are often stories of seeking refuge from tyranny in the freedom
            of the United States. Just as the lives of our ancestors were at stake, the very lives of
            many of these DACA recipients are at stake. Some of our ancestors arrived here
            documented, and some arrived undocumented, some were turned away - and later
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             murdered during the Holocaust. Experience and the Torah teach us that the United
             States can and should welcome those who immigrate here because we were “once
             strangers in the land of Egypt” - that is, because we are also immigrants.

  43. Legal Advocacy Project of Unitarian Universalist FaithAction of New Jersey

          The Legal Advocacy Project of Unitarian Universalist FaithAction of New Jersey (“UU
  FaithAction NJ”) is a New Jersey not-for-profit membership organization representing most of
  the Unitarian Universalist congregations of New Jersey. Founded in 2009, UU FaithAction NJ
  gives voice to Unitarian Universalist humanitarian values in matters of public policy and justice
  advocacy in New Jersey. Rooted in 250 years of free church tradition, Unitarian Universalists
  share a belief in right action, as opposed to right doctrine, as the basis of their core humanitarian
  values. Its shared Principles and Purposes include a commitment to the inherent worth and
  dignity of every person; to justice, equity and compassion in human relations; and to the right of
  conscience and the use of the democratic process within its congregations and in society at large.

  44. Lutheran Social Services of New York (LSSNY)

          Lutheran Social Services of New York (LSSNY) has provided comprehensive social
  service programs to children and families for more than 130 years. LSSNY serves families in
  need across the New York metropolitan area and Long Island, offering a variety of programs,
  including foster care, family treatment rehabilitation, early childhood education and special
  education, immigration legal services, shelter and supportive services to unaccompanied minors,
  supportive housing and hunger prevention. LSSNY began in 1886 when 11 Lutheran
  congregations in the New York metropolitan area created an orphanage for children affected by a
  severe outbreak of influenza within the German communities of New York City. The agency
  was among a group of Lutheran mission societies that served Lutherans who had immigrated to
  New York. Over the years, LSSNY formed alliances with other Lutheran organizations and
  church bodies, and in the years since 1990 has expanded its programming to include community
  services (immigration legal, refugee services, hunger prevention), supportive housing for
  formerly homeless individuals, and education services. Throughout this expansion, LSSNY’s
  mission has remained the same: “Called by God, we encourage people to reach their full
  potential.” LSSNY works with local community partners to understand the needs of our
  neighbors, and to bridge the gap between what any one individual can accomplish on their own,
  and what they can achieve with the supportive care of our services. LSSNY employs some 650
  employees who work as counselors, teachers, caregivers and legal counsel, to strengthen the
  lives of those we serve.

  45. Maryknoll Office for Global Concerns

          Maryknoll Office for Global Concerns is the justice and peace advocacy office
  representing Maryknoll Missioners – Catholic priests, brothers, sisters and lay missioners- who
  work with the poor and marginalized in 40 countries around the world. From their headquarters
  in Ossining, NY, Maryknoll Missioners have lived and worked with families in extreme poverty
  for many years in countries where DACA recipients originate. Maryknoll Fathers and Brothers,
  Sisters, and Lay Missioners have acquired a deep understanding of the dire social, economic and
  environmental conditions that Dreamers would face if they were deported, as well as intimate
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  witness to the fragility and insecurity of living in the shadows without documents in the US.
  Deporting Dreamers to their countries of origin, where most have only weak or distant ties,
  would subject them to the same forces of poverty, violence, and instability their families
  originally fled and from which millions more still flee. For these reasons we oppose the
  termination of DACA and seek a resolution of Dreamers’ status that allows them a path to
  citizenship.

  46. Metropolitan New York Synod of the Evangelical Lutheran Church in America

           The Metropolitan New York Synod is the regional expression of the Evangelical
  Lutheran Church in America, a member church of the Lutheran World Federation—A
  Communion of Churches. Lutherans are a diverse group of people, convinced that the Holy
  Spirit is leading us toward unity in the household of God. As Lutherans, we are worshipping
  God, helping friends and neighbors, celebrating diversity, feeding the hungry, working for
  justice, and advocating for peace. When we serve others and address social issues that affect the
  common good, we live out our Christian faith. There are nearly 200 congregations across New
  York City, Long Island, and in the counties of Westchester, Putnam, Orange, Rockland, Sullivan
  and Dutchess. The Rev. Dr. Robert Alan Rimbo serves as the Lutheran Bishop of the Metro
  New York area.

           The Metropolitan New York Synod and, specifically, Bishop Robert Alan Rimbo, have
  been consistent supporters of Dreamers. The termination of the DACA program is, to say the
  least, troubling. These people whom some now wish to deport from the only homeland they
  know because of what can only be called the accidents of history and for no other reason – they
  just happened to be brought to our communities as their families searched for new hope – are
  model citizens. They are the kinds of people we want to have as neighbors: health care
  professionals, artists, teachers, friends, mechanics, the list seems endless, and now, for reasons
  beyond our grasp they are being threatened with deportation. We stand united against this and in
  support of DACA and the people it protects. We, as people of faith, are prompted to pray for
  godly wisdom to prevail among the powers that be in our country, itself built on the hopes and
  dreams of immigrants.

  47. Muslim Advocates

          Muslim Advocates is a national legal advocacy and educational organization that works
  on the front lines of civil rights to guarantee freedom and justice for Americans of all faiths.
  Muslim Advocates advances these objectives through litigation and other legal advocacy, policy
  engagement, and civic education. Muslim Advocates also serves as a legal resource for the
  American Muslim community, promoting the full and meaningful participation of Muslims in
  American public life. The issues at stake in this case directly relate to Muslim Advocates’ work
  fighting for civil-rights protections for American Muslim communities, which includes
  immigrants and persons who have benefited from the Deferred Action for Childhood Arrivals
  Program.




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  48. Muslim Bar Association of New York

          Muslim Bar Association of New York (“MuBANY”) is one of the nation’s largest and
  most active professional associations for Muslim lawyers. MuBANY provides a range of
  services for the legal community and for the larger Muslim community. One of MuBANY’s
  missions is to improve the position of the Muslim community at large which is comprised of
  significant number immigrants and, in particular DACA recipients. MuBANY seeks to support
  the Muslim community and its significant immigrant contingent through community education,
  advancing and protecting the rights of Muslims in America, and creating an environment that
  helps guarantee the full, fair and equal representation of Muslims in American society.

  49. Muslim Public Affairs Council

         The Muslim Public Affairs Council (MPAC) is a community-based public affairs
  nonprofit working to promote and strengthen American pluralism by increasing understanding
  and improving policies that impact American Muslims. MPAC’s vision is an America enriched
  by the vital contributions of American Muslims. MPAC participated as amicus curiae in cases
  concerning civil liberties (Boumediene v. Bush and al-Odah v. U.S. (U.S. 2007)); immigration
  (Donald Trump v. IRAP (U.S. 2017) and Arizona v. U.S. (U.S. 2012)); and religious liberties
  (Masterpiece Cakeshop v. Colorado Civil Rights Commission (U.S. 2017) and Holt v. Arkansas
  Dept. of Correction (U.S. 2014)).

  50. Muslim Urban Professionals (Muppies)

         Muslim Urban Professionals, (Muppies), is a nonprofit, charitable organization dedicated
  to empowering and advancing Muslim business professionals to be leaders in their careers and
  communities. Its mission is to create a global community of diverse individuals who will
  support, challenge, and inspire one another by providing a platform for networking, mentorship,
  and career development.

         Muppies represents an engaged group of Muslim professionals that believe immigrants
  and refugees are an integral part of the U.S. economy, adding over $1 trillion to the USA's GDP.
  Muslims contribute to the fabric of the US in diverse ways, such as driving innovation, creating
  new opportunities for employment, and promoting excellence through diversity and inclusion.
  We oppose any policy that results in a reduction of opportunity and inclusion for any individuals
  or groups.

  51. Muslims for Peace, Inc.

          Muslims for Peace, Inc. ("MFP") is a New Jersey based non-profit that aims to bridge
  people from different religious and ethnic backgrounds through interfaith activities, such as
  presentations, seminars and discussions. We also provide charitable support in the form of
  organizing food drives and organizing relief for disaster victims. Through our work, we aim to
  assist people of all faiths and ethnic backgrounds. We stress tolerance, education and humane
  solutions to problems facing our communities. We support DACA as a just and proper response
  to a humanitarian issue that otherwise has and will continue to divide and disrupt families and
  communities.
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  52. Muslims for Progressive Values

          Muslims for Progressive Values is the oldest and only progressive and Muslim faith-
  based human rights organization in the U.S. founded in 2007. We embody and advocate for the
  traditional Quranic values of social justice, an understanding that informs our positions on
  women’s rights, LGBT inclusion, freedom of expression and freedom of and from belief. As an
  organization that promotes diversity and inclusivity, we find the termination of DACA cruel to
  families and the antithesis to America's founding values.

  53. National Council of Jewish Women

         The National Council of Jewish Women (NCJW) is a grassroots organization of 90,000
  volunteers and advocates who turn progressive ideals into action. Inspired by Jewish values,
  NCJW strives for social justice by improving the quality of life for women, children, and
  families and by safeguarding individual rights and freedoms. NCJW's Resolutions state that
  NCJW resolves to work for “Comprehensive, humane, and equitable immigration, refugee,
  asylum, and naturalization laws, policies, and practices that facilitate and expedite legal status
  and a path to citizenship for more individuals.” Consistent with our Principles and Resolutions,
  NCJW joins this brief.

  54. NETWORK Lobby for Catholic Social Justice

          NETWORK Lobby for Catholic Social Justice is a national organization founded by
  Catholic Sisters in 1972. For 45 years we have worked at the intersection of faith and politics.
  Our staff and extensive national membership include Dreamers all of whom have been effective
  and enthusiastic in their engagement with faith in the quest for justice. If the administrative
  order is implemented our work in democratic education will be seriously impaired both in our
  central office in Washington, DC and around the nation.

  55. New Jersey Interfaith Coalition

          New Jersey Interfaith Coalition is non-partisan network of houses of worship,
  organizations, and individuals with the following mission: Promote houses of worship, non-
  political organizations and individuals to work together to honor and enrich diverse faiths and
  ethical practices. Oppose intolerance and hate. Foster a climate of positive mutual acceptance
  and appreciation for all, regardless of their faith, race, or sexual orientation. Our guiding
  principles are to promote the adoption of the “Stand Up for the Other” pledge, especially among
  our own communities; encourage interfaith dialogue and collaboration; respond to acts of
  intolerance, bigotry, terrorism, and hate; sponsor and participate in events consistent with our
  mission and promote each other’s events within our communities; and to promote other common
  actions consistent with our mission.

          Our “Stand Up for the Other” pledge leads us to support DACA and oppose its
  termination just the same as we oppose bigotry, racism, anti-Semitism, and Islamophobia:
  “While interacting with members of my own faith, or ethnic, or gender community, or with
  others, if I hear hateful comments from anyone about members of any other community, I pledge
  to stand up for the other and speak up to challenge bigotry in any form.”
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  56. New Mexico Conference of Churches

          The New Mexico Conference of Churches is a statewide network of churches working
  for the wellbeing of New Mexico’s peoples and environment. Our congregations welcome the
  gifts of all people in the name of Christ no matter their immigration status. Our member
  congregations, and the communities in which they serve, include DACA recipients and their
  families. We call for ongoing support and protection of DACA recipients.

         By our baptism, we are united in Christ and called to care for the least of these (Matthew
  25:40) and to love our neighbors as ourselves (Matthew 22:39). DACA recipients, immigrants,
  and refugees are our neighbors and we are compelled by our faith to seek and serve Christ in
  each person. We believe that justice and peace are served when the rights of all people—
  especially vulnerable young people, immigrants and refugees--are protected.

  57. New Mexico Faith Coalition for Immigrant Justice

          The New Mexico Faith Coalition for Immigrant Justice is a faith based group that was
  formed over eight years ago as a response to attacks on our immigrant communities during the
  last administration. Since its formation, the Coalition has been deeply committed to supporting
  the immigrant families in New Mexico through the hardships of deportation and detention and
  has been outspoken against unjust and inhumane immigration laws, advocating for laws that
  reflect the higher values of the dignity of the person, unity of the family, richness in diversity,
  and the freedom of the pursuit of purpose. Among the many services we provide to the
  immigrant community are direct service: connecting families to legal and social resources, faith-
  based community education of immigrant issues, border awareness programs, micro-loans for
  immigration form submittals, court accompaniment for families, and refugee hospitality
  program: picking up and finding a place to stay for asylum seekers and asylees released from the
  Cibola detention center.

          As a small organization with 3 part-time staff, two who are DACAmented, our efforts to
  work for immigrant justice and support the direct service needs of our migrant communities are
  inextricably tied to having a continuation of DACA or implementation of a Clean DREAM Act.
  While many of us who are allies have worked in this field for years or decades, it is only with the
  participation and leadership of the affected communities, particularly those who are
  undocumented or under threat of immigration enforcement, that we can strive to create better
  immigration laws and a more just system that supports the well-being of all.

  58. New Sanctuary Coalition of New York

          The New Sanctuary Coalition of New York is an interreligious grass roots organization in
  solidarity with families and communities who are striving to keep their loved ones together as we
  reimagine and implement ways to prevent and stop the detention and deportation of our loved
  ones.




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  59. New Sanctuary Movement of Philadelphia

          New Sanctuary Movement of Philadelphia (NSM) is an interfaith, multi-cultural
  organization that works to build community across faith, ethnicity and class in our work to end
  injustices against immigrants regardless of immigration status, express radical welcome for all,
  and ensure that values of dignity, justice, and hospitality are lived out in practice and upheld in
  policy. Working with 28 congregations, NSM has three programs: Education and Leadership
  Development, Accompaniment, and Grassroots Organizing.

         NSM opposes the termination of DACA because it will have a disastrous effect on many
  people in our member congregations and is a violation of our faith teachings. Terminating
  DACA not only impacts the 800,000 youth, but their parents and relatives. For example, we
  have a member from Honduras who has lived in the US for 30 years. She left Honduras and her
  family because of the poverty in her country. She slowly brought her family here, where they
  now have made a home. They are leaders in their church, have built families, and are all
  dedicated to improving their community. Two of her daughters have DACA, and the news of its
  termination was a crushing blow for her. All that she has sacrificed, all the 16 hour days at a
  sewing factory were for her children to have a better life. With the termination of DACA, it
  pulls away those dreams.

          We work with the Latino and Indonesian community and have many DACA recipients
  who are leaders in their congregations and their community. In the Indonesian congregations,
  DACA is important because almost all of the young adults in some of the churches are DACA
  recipients. These recipients were brought here from Indonesia as children, many escaping anti-
  Christian persecution. They are college students, with a GPA of 3.5 or higher. They have jobs
  like working as a bank teller, and lawyer's assistant. One of them even enlisted in the army and
  without DACA he wouldn't have that opportunity. Without DACA they would be stripped of
  their work permit and these bright minds aren't able to contribute to our society and economy.
  Their future and ability to provide for their families would be taken away. Finally, NSM
  believes terminating DACA is immoral and violates the religious teachings to welcome the
  stranger and love our neighbor.

  60. New York Board of Rabbis

          The New York Board of Rabbis (“NYBR”) is the largest and oldest interdenominational
  rabbinic organization in the world, representing the different streams of Jewish life in America.
  Our members serve communities in the Greater New York area and around the country.
  Established in 1881, the NYBR is the primary address for rabbis serving congregations,
  organizations, chaplaincies, communal service agencies, and schools. The Board seeks to
  enhance and expand the role of the Rabbinate for the betterment of the Jewish people and the
  world at large by providing its members with a spiritual environment and opportunities to grow
  professionally, promoting religious pluralism, and building bridges across denominations with
  other faiths. We are a central convener of multi-faith dialogues to promote increased
  understanding of one another and pursue avenues of common concern.

        The Jewish community is an immigrant community spanning the history of America.
  From the first Jewish settlers who arrived in New Amsterdam in Lower Manhattan to the Jews
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  who have come to this great nation in recent years. We believe that America is a great nation
  because of its diversity and its robust immigrant history. The NYBR proudly collaborates with
  legal and advocacy groups to support Dreamers and to keep our Nation's doors open to those
  who seek refuge on our shores. Recently we partnered with UNICEF USA to help Syrian
  refugees who are living in the United States. Our tradition teaches us to "welcome the stranger,"
  created in the image of God and a respected member of the human family.

  61. New York Conference United Church of Christ

          The New York Conference United Church of Christ consists of over 270 local churches
  and 30,000 members, encompassing the entirety of New York State. The Conference is one of
  thirty-eight regional bodies of the United Church of Christ. We are committed to being led by
  the Spirit to faithful witness, compassionate justice, and bold Christian leadership. Guided by
  this mission, the ministries of the New York Conference, in all its settings, respond to the Still
  Speaking God and the gospel call for peace and justice. Embracing the United Church of
  Christ’s vision of “A Just World For All,” we believe that the elimination of the Deferred Action
  for Childhood Arrivals Program is contrary to our faith, which affirms the dignity and worth of
  all people regardless of country of origin or extent of documentation. The gospel of Jesus Christ
  compels us to extend an extravagant welcome to all, so that all may experience a “more and
  better life than they ever dreamed of” (John 10:10 The Message). The New York Conference
  signs on to this brief in support of all the Dreamers who are not only members of our
  congregations but our neighbors and friends.

  62. Pacific Northwest Conference of the United Church of Christ

          The Pacific Northwest Conference of the United Church of Christ (PNCUCC) is an
  organization of approximately 80 churches in Washington State, North Idaho and Alaska. Our
  Constitution and Bylaws open with this scriptural guidance; “The Lord has told us what is good.
  What God requires of us is this: to do what is just, to show constant love, and to live in humble
  fellowship with our God.” Out of this call from God, PNCUCC recently passed a resolution
  titled “A Call to Become Immigrant and Refugee Welcoming as a Conference and in
  Congregations.” This resolution is based on the belief that every immigrant and refugee has
  inherent dignity and human rights; that every immigrant and refugee should be able to live in
  safety, to live without fear, and have access to basic necessities and opportunities. Our churches
  live this out through works of direct service, worship, and advocacy. The repeal of DACA
  would mean the government would stand between us and those we are called to serve. It would
  make it much more difficult, and in some cases impossible, for us to fulfill the mission we’ve
  discerned God is calling us to.

  63. Presbytery of New York City

         The Presbytery of New York City began with immigrants who came to America more
  than 350 years ago and remains the most diverse presbytery in the United States. The Presbytery
  continues to aid and build up, and give hope to past and present immigrants and their children in
  our 100 congregations in the City of New York. The call to end DACA is unjust to people we
  know in our congregations who have played by the rules previously asked and expected a more
  welcoming path to American citizenship. Bible studies have dwindled; businesses have closed;
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  DACA young adults have grown fearful and heard expulsive and assuming statements made to
  them with no basis in fact. It feels to us as a people of faith like ethnic cleansing and a return to
  white nationalist rule that belies and interferes with our calling by God to minister to the
  sojourner, the immigrant, the refugee, the destitute, and to love all our neighbors as we love
  ourselves.

  64. Queens Federation of Churches

          The Queens Federation of Churches was organized in 1931 and is an ecumenical
  association of Christian churches located in the Borough of Queens, City of New York. It is
  governed by a Board of Directors composed of equal number of clergy and lay members elected
  by the delegates of member congregations at an annual assembly meeting. Over 390 local
  churches representing every major Christian denomination and many independent congregations
  participate in the Federation’s ministry. Our ecumenical ministry in the nation’s most diverse
  county finds many congregations ministering to immigrants. Our concern to protect their God-
  given right to be in our part of the global household of God is paramount. Therefore, especially,
  we strongly support legal status for those who came to this country as children.

  65. Religious Institute

           Founded in 2001, the Religious Institute is a multi-faith organization dedicated to
  advocating for sexual, gender, and reproductive health, education, and justice in faith
  communities and society. With a network of more than 8,500 religious leaders and people of
  faith, the Religious Institute has a record of creating campaigns that mobilize thousands of
  religious leaders and hundreds of faith communities. The Religious Institute also has long-
  standing partnerships with graduate theological schools, denominations, religious organizations,
  and sexual, gender, and reproductive justice organizations . In all our work, we offer prophetic,
  moral leadership at the intersection of religion and sexuality, gender, and reproductive health. As
  part of that prophetic leadership, we oppose the termination of the DACA program. We hold
  that all people should be able to live and create families with dignity and respect, free from fear
  and state-based violence. The sacred worth of all people is inherent and in no way dependent on
  performance, productivity, or so-called ‘economic value.’

  66. Romemu

          Romemu is a Jewish community that seeks to integrate body, mind, and soul in a
  progressive, fully egalitarian community committed to tikkun olam, or social action, and to
  service that flows from an identification with the sacredness of all life. As a spiritual community
  grounded in the twin values of tikkun olam (social action) and a Divine connection meant to
  inspire us to live more holy and engaged lives, we feel that it is our duty and responsibility to
  speak out against injustice. As a Jewish community engaged with our historical narratives, we
  know that a large part of our own story has been shaped by being refugees and foreigners in
  strange lands. It is for this reason that the most repeated injunction in the Torah is the
  commandment to take care of and love the stranger. We know from our own families and
  historical stories what it is like to be strangers, and we are grateful and loyal to this country for
  the opportunities and blessings that it has provided. We have an obligation as religious, moral,

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  and compassionate individuals to make sure that America continues to be a place where those
  marginalized can find economic security, freedom, and hope.

          For all of these reasons and many more, we object to the repeal of the DACA program.
  As a faith community, we must advocate for our at-risk brothers and sisters regardless of their
  religion, ethnicity, or country of origin. We believe in equality of opportunity for all.

  67. Santa Fe Monthly Meeting of the Religious Society of Friends (Quakers)

         DACA is important to our Meeting because as Quakers we are guided by the values of
  Equality and Community not only within our Meeting but also in the world around us. We care
  about DACA recipients because they are threatened with an assault on their humanity—tearing
  them away from their homes, often the only homes they know, uprooting them from their
  families, jeopardizing their education and employment and denying them their fundamental
  human dignity. We cannot be faithful to the Light that Spirit has granted us and ignore what is
  being done in our name to these brothers and sisters.

  68. Second Presbyterian Church, Albuquerque, New Mexico

          We support the principles of universal human rights and believe there is an onus of
  society to support the most vulnerable members of society. We find this consistent with biblical
  ethics and with ideals our country is founded on. Ending DACA would be an assault on
  vulnerable, contributing members of society and the consequences would be damaging to
  individuals, families, and our country.

  69. Sikh Coalition

          The Sikh Coalition is a community-based civil rights organization that defends civil
  liberties, including religious freedom, for all Americans. Our mission is to promote educational
  awareness and advocacy, and provide legal representation in moving towards a world where
  Sikhs and other religious minorities may freely practice their faith without bias and
  discrimination. We are the largest community-based Sikh civil rights organization in the United
  States. Since its inception on September 11, 2001, the Sikh Coalition has worked to defend civil
  rights and liberties for all people, empower the Sikh community, create an environment where
  Sikhs can lead a dignified life unhindered by bias or discrimination, and educate the broader
  community about Sikhism in order to promote cultural understanding and diversity. The Sikh
  Coalition has vindicated the rights of numerous Sikh Americans subjected to bias and
  discrimination because of their faith. Ensuring the rights of religious and other minorities is a
  cornerstone of the Sikh Coalition’s work, including the individuals who would be affected by the
  rescission of DACA.

  70. Sisterhood of Salaam Shalom

          We are the only national grassroots organization dedicated to building trust, respect and
  relationships between Muslim and Jewish women. Based on those relationships, we commit to
  putting an end to hate of one another. It is not only an honor but the responsibility of the
  Sisterhood of Salaam Shalom to do whatever we can to make every child living in the US secure

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  and to make every parent, grandparent, sibling and other relative worry-free regarding the safety
  of their children and their whole family being able to live in what is supposed to be the greatest
  country in the world.

  71. Society for the Advancement of Judaism

         The Society for the Advancement of Judaism (SAJ) is a synagogue located on the Upper
  West Side, with about 400 individual members. Within our community we have a standing
  SOJAC (Social Action Justice Committee) and an Immigrant Rights Action Team that seek to
  organize our members in support of fair and just immigration policies and to stand up for
  immigrant rights. We are active members of the Synagogue Coalition for Refugees and
  Immigrants, a coalition of New York synagogues fighting for the rights and dignity of refugees
  and immigrants. We believe that Dreamers contribute greatly to our society and believe they
  should be given a pathway to citizenship.

  72. St. Andrew Presbyterian Church in Albuquerque, New Mexico

          Our congregation, founded in 1959, is part of the Presbytery of Santa Fe, Presbyterian
  Church (U.S.A.). Our mission is to proclaim and live the Good News of Jesus Christ by:
  listening to a loving God; celebrating our faith together; nurturing each other in Christian love
  and spiritual growth; working for social justice and peace; reaching out in compassionate
  service; and being stewards of all God’s gifts.

          In March 2017, St. Andrew Presbyterian Church declared itself to be an ally church to the
  Sanctuary Movement. Since then we have provided financial support and volunteers to the
  movement, offered educational forums about immigration and participated in acts of public
  witness in support of undocumented immigrants and immigration policy reform. We do so
  because as Christians we are called to love our neighbor as ourselves, and Jesus puts no
  limitation on our love of neighbor. The undocumented young people who are covered under
  DACA are our neighbors. The repeal of DACA would tear apart their families and our
  communities, causing irreparable harm.

  73. St. Luke’s Episcopal Church in Long Beach

          St. Luke’s Episcopal Church in Long Beach was the first parish to declare itself a
  sanctuary parish in the Episcopal Diocese of Los Angeles. St. Luke’s sees our commitment of
  standing with the oppressed and fighting against systems of oppression as part of our baptismal
  covenant. We welcome everyone equally and enthusiastically. Whatever religious background,
  age, race, gender, sexual orientation, or economic status, we welcome all. Scripture is clear that
  we should welcome the stranger in our midst and love one another as ourselves. St. Luke’s
  strives to be a beacon of hope to all immigrants and people who are marginalized by an unjust
  society.

  74. St. Mark’s Episcopal Church (Albuquerque, New Mexico)

          St. Mark’s Episcopal Church is committed to pursuing human rights and social justice for
  all people residing in our country and for this reason we call for the ongoing support of DACA

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  recipients. It seems a cruel policy change to rescind protections and pathways to participation in
  our country for those who registered in good faith with our government. We believe that our
  defining story and scriptures teach us to welcome the stranger and the sojourner in our land. We
  value the lives of immigrants and know that their contributions to our economy, culture and
  national life are invaluable. We desire the continuation of DACA to ensure that these young
  people will be given the opportunity to thrive in safety so that they may offer their perspectives,
  ingenuity and creativity to our national life. Our baptismal covenant includes the vow to "seek
  and serve Christ in all people, loving our neighbors as ourselves." DACA recipients,
  immigrants, and refugees are our neighbors and we are compelled by our faith to seek and serve
  Christ in each one of them. Our baptismal covenant also includes the vow to "strive for justice
  and peace and respect the dignity of every human person." We believe that justice and peace are
  served when the rights of all people--especially vulnerable people, including immigrants and
  refugees, are protected.

  75. St. Stephens’ Episcopal Church in Boston

          St. Stephens’ Episcopal Church of Boston, MA serves the South End/Lower Roxbury
  Community. We seek to meet the out-of-school time needs of young people and families in
  Boston and Chelsea. The decision to end DACA would impact individuals and families who
  reside in our parishes and broader communities. Ending residency for those currently protected
  by the DREAM Act would move our country further away from the principles of justice that we
  seek as people of faith. In addition, supporting those impacted by the ending of the DREAM act
  would add to our already demanding program load—thereby negatively affecting the entire
  community. We add our voice to those asking the court to protect Dreamers by not to allowing
  the termination order to go into effect.

  76. T’ruah: The Rabbinic Call for Human Rights

          T’ruah: The Rabbinic Call for Human Rights is a network of 1,800 rabbis and cantors
  from all streams of Judaism that, together with the Jewish community, act on the Jewish
  imperative to respect and advance the human rights of all people. Grounded in Torah and our
  Jewish historical experience and guided by the Universal Declaration of Human Rights, we call
  upon Jews to assert Jewish values by raising our voices and taking concrete steps to protect and
  expand human rights in North America, Israel, and the occupied Palestinian territories. T'ruah's
  support of DACA is based in Jewish tradition and history. The Torah teaches the obligation to
  love the immigrant, just as God loves and cares for the immigrant: “The ger (immigrant) who
  sojourns with you shall be like a citizen unto you, and you shall love this person as yourself, for
  you were gerim in the land of Egypt. I am Adonai, your God.” (Leviticus 19:34) The ancient
  rabbis taught that the city of Sodom was considered the epitome of evil because the residents
  made laws prohibiting kindness to strangers. In addition, within the Jewish community, many
  families are alive today because of the relatively open immigration policies of the late 19th and
  early 20th centuries. And too many Jews died after being trapped in Europe when the borders
  closed in 1924. We understand the cruelty of forcing Dreamers back to the countries where they
  were born, but in many cases have never lived, and where — in some cases — their lives will be
  in danger.


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  77. Temple Israel of the City of New York

          Temple Israel of the City of New York, founded in 1870, is a Reform Jewish synagogue
  that welcomes all who choose to worship, study and celebrate within the Jewish community.
  Located on the Upper East Side on 75th street between Park and Lexington Avenues, we are a
  dynamic, inclusive neighborhood community. As a family of families, we are committed to
  building a diverse and inclusive congregation united by humanitarian values as expressed in our
  Jewish religious, educational, justice and social activities, and through these activities to create a
  rich, vibrant Judaism that enriches the lives of our congregants and responds to the demands of
  modern life.

          Temple Israel of the City of New York stands on core Jewish values that affirm life and
  freedoms. Our people have been immigrants and refugees in need of aid from our ancestral days
  to now, and across our world history one of the greatest homes we have ever found is the United
  States of America. It is important to us that we keep America open as a land of opportunity for
  immigrants and refugees as it has been a promised land for so many. With that, to take away this
  great land of freedom from someone who has grown up in this country, is at home in this
  country, would be shameful and un-American; it goes against what makes America great, and to
  go back on this promise already made makes it even worse. The Torah tells us 36 times to aid the
  plight of the immigrant. Taking away the hand DACA has already extended is detrimental to our
  neighborhood, our New York City, our state, and country. We would see it reinstated
  immediately.

  78. Temple Sinai (Washington, DC)

          Temple Sinai is one of the largest Reform Jewish congregations in the Washington, DC
  area. Organized in 1951, the congregation has over 1,200 member families. The Temple Sinai
  community offers a great breadth of opportunities for participating in worship, programs, and
  services for all ages, as well as a remarkable Religious education program and NAEYC-
  accredited Nursery School. The temple’s mission statement and core values incorporate the
  primary reasons members belong to Temple Sinai – ritual observance, Jewish education, tikkun
  olam (repairing the world), belonging to a Jewish community and concern for Israel as a Jewish
  homeland. Temple Sinai has a distinguished tradition in each of these areas, with our particular
  focus through the lens of Reform Judaism.

         Temple Sinai is committed to working on immigration issues in our country. Our own
  Jewish history of displacement as well as the Biblical injunction to “welcome the stranger” guide
  us in our work to welcome refugees, support those facing deportation, and strongly oppose the
  suspension of DACA.

  79. Town and Village Synagogue, New York, New York

          Town and Village Synagogue is an egalitarian, traditional synagogue, affiliated with the
  Conservative Movement. Located in lower Manhattan, NYC, T&V welcomes all people to
  share in its activities irrespective of gender, sexual orientation, race, ethnicity or religion. In its
  strategic plan T&V identifies as one of its "Core Values" Gemilut Hasadim (loving kindness)
  "caring for one another; committed to social justice and Tikkun Olam (social responsibility);
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  engaged with our local and global communities for the betterment of all." It is joining in this
  Amicus to fulfill the Biblical precept that there be "one law for the citizen and for the stranger
  who dwells among you" (Exodus 12:49).

         T&V oppose changes to the DACA program that will affect those brought here as
  children, some of whom are still attending school or higher education, or currently work here
  and who have known no other home than the United States. If DACA were to be terminated,
  these young people -- Americans in every respect but citizenship -- could be deported to
  dangerous countries they have never known, separated from their families, and forced to survive
  alone, many without even knowing the language. Members of the synagogue have attended
  workshops to help immigrants get their affairs in order should they face sudden arrest or
  deportation orders, as immigration policies are summarily changed.

  80. Trinity Church Wall Street

          Trinity Church Wall Street is a vibrant and growing Episcopal parish in Lower
  Manhattan. Guided by our core values of faith, integrity, inclusiveness, compassion, social
  justice and stewardship, Trinity’s mission is to build our neighborhood, train leaders of Christian
  communities for the future, and help our partners become financially sustainable to support their
  ministries. Trinity is committed to serving the most vulnerable in our neighborhood and to
  advocating for justice on behalf of those whose voices are not heard, including immigrants and
  “Dreamers.” We support fairness and safety for immigrants, whose contributions are essential to
  our city and our nation, and in that spirit, we oppose the termination of DACA.

          We are concerned that ending DACA will mean that vulnerable people in our
  communities will be deported to countries they have little experience of, leaving dependent
  family members here; will lead them to live outside of the legal protections of New York City
  out of fear for their own safety; and will cause them to avoid the police, hospitals, schools, and
  other services designed for individual and public safety. Furthermore, the repeal of DACA is a
  turning back of policy that asked undocumented people to register with the government in return
  for a protected status. The fact that such registration is being used to target and deport them is a
  profound betrayal of trust by the U.S. government that should give pause to any immigrant to
  this country of immigrants.

  81. Union for Reform Judaism, including the Reform Jewish Voice of New York State
  82. Central Conference of American Rabbis
  83. Women of Reform Judaism

          The Union for Reform Judaism, whose 900 congregations across North America includes
  1.5 million Reform Jews (including those that participate in Reform Jewish Voice of New York
  State), the Central Conference of American Rabbis (CCAR), whose membership includes more
  than 2000 Reform rabbis, and Women of Reform Judaism that represents more than 65,000
  women in nearly 500 women's groups in North America and around the world, come to this issue
  rooted in both our Jewish tradition and our historical experience. Together, they lead us to
  support immigration policy that is compassionate and fair.


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  84. Unitarian Universalist Mass Action Network

          Unitarian Universalist Mass Action Network is a state action network that works in
  coalition with interfaith partners and organizations led by those who are directly affected by
  injustice. Our mission is to organize and mobilize Unitarian Universalists to confront
  oppression. It is through our social justice work that we live our values and principles that define
  our faith. One manifestation of oppression in which we deeply engage is immigrant rights. The
  level of cruelty, ignorance and hateful attacks perpetrated on immigrant communities is an
  offensive affront to human values. We are dedicated to confronting these attacks on families and
  the safety of our communities through building resistance networks. We support the DACA
  program and DACA recipients as part of our overall support for all immigrants. All families
  deserve the right remain together. Young people who have grown up in the US, were educated
  in our school systems and are integral members of our communities deserve to have a pathway to
  a legal status that allows them to work and obtain a post-secondary education. UU Mass Action
  works closely with many young leaders who have DACA status. Their families and friends are
  here and the only country they know is the US. Deporting these young people to a country
  where they typically know no one puts their lives in danger. Tearing families apart and
  endangering lives is immoral. We will not remain silent and allow this to occur.

  85. Visitation BVM Church in Philadelphia, Pennsylvania

         Visitation BVM is a multicultural Catholic parish located in the Kensington section of
  North Philadelphia. The majority of our parishioners come from Puerto Rico, the Dominican
  Republic, México, Honduras, Ecuador and Vietnam. Our mission is to preach Good News to an
  immigrant community who often struggle in their day to day living situations. These challenges
  have only increased over the past year as some of our members have been detained or deported.

          Many of our young adults are protected by DACA, including our Pastoral Outreach
  Assistant. These young people call the United States their home. Some have little to no memory
  of the countries where they were born. They are in college or working as they strive to become
  productive members of society. These Dreamers are nervous about their future and want to
  make their families and their lives here in the U.S. - the country they call home.

         Our church is a member of the New Sanctuary Movement and we were very involved in
  the sanctuary effort of Angela Navarro two years ago. We provided spiritual and material
  support to her and her family over the months she was in sanctuary. The Archdiocese of
  Philadelphia does not allow Catholic Churches to offer sanctuary so we collaborated with a
  neighboring Presbyterian Church. Our institution has not directly been the target of ICE raids
  but they have taken place in the neighborhood.

  86. West End Synagogue (New York City)

          West End Synagogue is a Reconstructionist congregation, affiliated with the
  Reconstructionist Movement. Located on the Upper West Side of Manhattan, NYC, West End
  Synagogue is a diverse group of individuals and families committed to exploring Jewish life and
  creating an intellectually challenging, spiritually vibrant, and mutually supportive community.
  Utilizing the principles of Reconstructionist Judaism, we celebrate the richness and diversity of
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  Jewish tradition through study, prayer, meditation, music and tikkun olam, or acts of repairing
  the world.

          West End Synagogue opposes changes to the DACA program that will affect those
  brought here as children. Many of these children are attending school, pursuing higher
  education, or working here and have known no other home than the United States. If DACA
  were to be terminated, these young people—Americans in every respect but citizenship -- could
  be deported to dangerous countries they have never known. They would be separated from their
  families, and forced to survive alone, many without even knowing the language. As immigrants,
  or children and grandchildren of immigrants who fled oppression, we are particularly sensitive to
  the situation of these young people who call the United States home. According to the Torah,
  “You shall treat the stranger as your own.” Maintaining the DACA program is a critical step in
  this direction.

  87. Westminster Presbyterian Church of Santa Fé

          Our congregation is fully inclusive and affirming of all people regardless of nationality,
  immigration status, ethnicity, social status or gender and sexual orientation, and a member of the
  Presbytery of Santa Fé and the Presbyterian Church (USA). Our denomination has consistently
  and historically expressed support for the values, safety, gifts, and perspective for immigrants of
  all nations, and has also called for the ongoing support and protection of DACA recipients. By
  signing on to the Amicus Brief, we reiterate our belief that justice and peace are served when the
  rights of all people—especially vulnerable people, including immigrants and refugees, are
  protected.




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